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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X

  JANE DOE

                          Plaintiff

                         - against -                                  17 Civ. _______

  ANTHONY J. ANNUCCI, Acting
  Commissioner of the New York Department
  of Corrections and Community Supervision;
  JASON EFFMAN, Associate Commissioner
  and PREA Coordinator for New York
  Department of Corrections and Community                             COMPLAINT
  Supervision; SABINA KAPLAN,
  Superintendent of Bedford Hills Correctional
  Facility; and JEFFREY GREEN, FNU
  HURT, FNU WILLIAMS, FNU MURPHY,
  FNU JACKSON, FNU EDDY, Sergeant                                     Jury Trial Demanded
  FNU SPIEGHTS, FNU PAIGE, FNU
  GARCIA and JOHN DOEs #1-3,
  Correctional Officers at the Bedford Hills
  Correctional Facility, in their individual and
  official capacities,

                       Defendants.


------------------------------------------------------------------X



             Plaintiff JANE DOE, by and through her attorneys, Perlmutter &

    McGuinness, P.C. and the Law Office of Zachary Margulis-Ohnuma, as and for

    her complaint, hereby allege as follows:




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                           PRELIMINARY STATEMENT

      1.     One week after a putative class-action lawsuit was filed seeking to

curb the sexual abuse of female prisoners in New York State, defendant Correction

Officer JEFFREY GREEN (“CO GREEN”) sexually assaulted a 27-year-old inmate

in her cell at Bedford Hills Correctional Facility (“BHCF”) in Bedford Hills, New

York. CO GREEN’s victim, Plaintiff Jane Doe, brings suit under 42 U.S.C. § 1983

against GREEN, who was on duty at the time, and fourteen specific prison officials

who sought to protect him. CO GREEN’s assault was the direct result of the

pervasive culture of impunity for officers and retaliation against victims that exists

in women’s prisons in New York and was described in detail in the Complaint in

Jones v. Annucci, Case No. ECF 16-cv-1473(RA), which was filed on March 3, 2016.

Unlike in the vast majority of cases, Plaintiff is able to corroborate her allegations

with DNA evidence and video surveillance, which led to GREEN’s pending

prosecution in Federal court.

      2.     Plaintiff brings suit against Bedford Hills Correctional Officer

JEFFREY GREEN as well as Bedford Hills Correctional Officers, FNU HURT, FNU

WILLIAMS, FNU MURPHY, FNU HENRY, FNU JACKSON, FNU EDDY,

Sergeant FNU SPIEGHTS, FNU PAIGE, FNU GARCIA, and JOHN DOEs #1-3,

who attempted to bar and obstruct Plaintiff from reporting the sexual assault,

violated her confidentiality, and retaliated against her verbally and physically.

      3.     Plaintiff also brings suit against those with policy-making authority

and responsibility for the safety and well-being of Plaintiff, who were on notice of

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the substantial risk of sexual abuse faced by Plaintiff, through various reports and

pending and prior litigation filed against the State of New York involving sexual

abuse of female inmates by correctional officers. In the Jones litigation alone, four

of the six plaintiffs were sexually assaulted while incarcerated at BHCF.

      4.     ANTHONY J. ANNUCCI, Acting Commissioner New York

Department of Corrections and Community Supervision (“DOCCS”), and SABINA

KAPLAN, Superintendent of BHCF failed to implement policies protecting Plaintiff

from sexual abuse by correctional officers, including CO GREEN. Additionally,

Plaintiff was unable to safely and confidentially report the abuse to authorities, and

she was subjected to multiple retaliation efforts from BHCF correctional staff. As a

result, the Defendants violated Plaintiff’s rights to be free from cruel and unusual

punishment and must compensate her for her physical and emotional injuries.

      5.     This is a civil rights action brought under 42 U.S.C. § 1983 to vindicate

rights of Plaintiff under the United States Constitution, the New York State

Constitution, and the statutory and common laws of the United States and the

State of New York.

                                  JURISDICTION

      6.     Subject matter jurisdiction over the federal constitutional issues is

proper in this Court pursuant to 28 U.S.C. § 1331. Plaintiff also invokes the Court’s

supplemental jurisdiction under 28 U.S.C. § 1367 over any and all state law claims

and causes of action, which derive from the same nucleus of operative facts and are

part of the same case or controversy, that gives rise to the federal claims and causes


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of action. This Court has jurisdiction to order damages, attorneys’ fees, injunctive

and declaratory relief pursuant to 28 U.S.C. § 2201 and 42 U.S.C. §§ 1983 and 1988.

       7.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2)

because the events giving rise to the claim occurred inside the Bedford Hills

Correctional Facility located in the Southern District of New York.

       8.
                                      PARTIES

       9.     Plaintiff JANE DOE, is a female inmate at BHCF under the operation

and control of DOCCS.

       10.    Defendant ANTHONY J. ANNUCCI is the Acting Commissioner of

DOCCS, which was formerly known as the New York Department of Correctional

Services. Commissioner ANNUCCI is sued herein solely in his official capacity.

       11.    Defendant JASON EFFMAN was at all relevant times Associate

Commissioner and Prison Rape Elimination Act (hereinafter “PREA”) Coordinator

for DOCCS. The United States Department of Justice (“DOJ”) regulation at 28

C.F.R. § 115.11(b) requires an agency to employ or designate an upper-level,

agency-wide PREA coordinator with sufficient time and authority to develop,

implement, and oversee agency efforts to comply with PREA standards in all its

facilities. Upon information and belief, JASON EFFMAN was at all relevant times

the individual charged with these responsibilities for DOCCS. JASON EFFMAN is

sued in his official capacity.




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        12.      Defendant SABINA KAPLAN was at all relevant times the

superintendent of BHCF. Superintendent SABINA KAPLAN is sued in her official

capacity.

        13.      Defendant JEFFREY GREEN (hereinafter “CO GREEN”) was at all

relevant times a correction officer at BHCF. On February 8 th, 2017, the United

States Attorney for the Southern District of New York charged CO GREEN with

Deprivation of Rights Under Color of Law (18 U.S.C. § 2, 242). See U.S. v. Jeffrey

Green, Case No. 17-MJ-1006 (CUA). Defendant Green was previously charged in

state court.

        14.      Defendants FNU HURT, FNU WILLIAMS, FNU MURPHY, FNU

HENRY, FNU JACKSON, FNU EDDY, Sergeant FNU SPIEGHTS, FNU PAIGE,

and FNU GARCIA were at all relevant times correctional officers at BHCF.

        15.      JOHN DOEs #1-3 (hereinafter “CO JOHN DOEs #1-3”) are

pseudonyms for unidentified correctional officers at BHCF.


                                FACTUAL ALLEGATIONS

   I.         Plaintiff’s Personal Background

        16.      Plaintiff is 27 years old and was born and raised in Niagara Falls, New

York.

        17.      On September 1, 2011, Plaintiff was arrested for her participation in a

robbery, in the course of which the victim died of a heart-attack.

        18.      Plaintiff plead guilty to first-degree attempted robbery. She was

sentenced on February 27, 2012, to 13 years’ imprisonment.

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        19.   Plaintiff voluntarily testified against her co-defendant, MATTHEW

DAVIS. DAVIS was sentenced to 25 years’ imprisonment.

        20.   At the time of her arrest, Plaintiff was attending her first semester of

college at Niagara County Community College and was working as a home-health

aide.


        21.   While in prison, Plaintiff enrolled in educational and work programs to

gain the skills necessary to succeed upon her release.

        22.   Plaintiff excelled in her Alcohol and Substance Abuse Treatment

(“ASAT”) program and participated in two domestic violence courses.

        23.   Plaintiff also enrolled in college courses in prison and is currently

working towards a sociology degree from Marymount Manhattan College.

        24.   While in prison, Plaintiff worked her way up from a Porter to a

Nursery School Attendant, a Grade Four position, the highest level, where she

cared for the infants in BHCF’s nursery.

        25.   Before the assault, Plaintiff had a good relationship with the

correctional officers at BHCF. She was not receiving any mental health counseling

nor was she taking any medications or illegal drugs.




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   II.         The Assaults and Retaliation

               A.      The March 10, 2016 attack on Plaintiff

         26.        On March 10, 2016 Plaintiff was an inmate at BHCF. Plaintiff was

housed in Hall C of Unit 112 C/D.

         27.        CO GREEN, the defendant, was a correction officer employed by

DOCCS before and up to March 10, 2016.

         28.        He was working as the Second Officer on that date in Unit 112 C/D.

         29.        Unit 112 is comprised of two hallways, C and D, which are joined in

the middle by a glass security box, called the “Bubble”. There are 30 cells in each

hallway.

         30.        To enter or exit Unit 112, the officer on duty in the Bubble must use

controls to open the unit door, located about five feet away from the Bubble.

         31.        The cells in Unit 112 have sliding doors that are controlled remotely

from the Bubble. A correction officer can open all the doors simultaneously or a

single door by turning various knobs on the control panel.

         32.        The evening of March 10, 2016, CO GREEN and CO FNU HURT, were

on duty in Unit 112 C/D.

         33.        Upon information and belief, DOCCS regulations require that two

correctional officers are on duty at all times in Unit 112. One correction officer

stays in the Bubble while the other occasionally leaves to conduct rounds.

         34.        At approximately 7:00 p.m., Plaintiff and another inmate were eating

food they had prepared in the unit’s kitchen.

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       35.     CO GREEN, who, upon information and belief, had never worked in

Unit 112 before that evening, began asking Plaintiff about Plaintiff’s girlfriend.

       36.     CO GREEN knew that Plaintiff dated women as well as men.

       37.     Plaintiff told CO GREEN that her relationship with another inmate

had recently ended.

       38.     CO GREEN then stated, “I’m coming into your room tonight.”

       39.     Plaintiff then cleaned her dishes and left to take a shower.

       40.     Another inmate witnessed the entire exchange set forth in the

preceding five paragraphs.

       41.     Plaintiff took a shower in the shower facility, which is located next to

the Bubble.

       42.     Plaintiff returned to her cell and dressed for bed.

       43.     Plaintiff then participated in the evening’s “count.”

       44.     The count requires all inmates to return to their cells while the

correctional officers on duty count the inmates to ensure that all are present and in

their cells.

       45.     At approximately 10:00 p.m., shortly after the evening’s count

concluded, the inmates in Unit 112 were locked in their cells. At that time, Plaintiff

was also in her cell.

       46.     At approximately 10:11 p.m., CO FNU HURT, the First Officer on

duty, left Unit 112 C/D, leaving CO GREEN alone in the Unit.




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         47.   Shortly thereafter, CO GREEN remotely opened Plaintiff’s cell door

from the Bubble.

         48.   CO GREEN then yelled to Plaintiff from the Bubble, which was located

approximately five to ten feet away from her cell, and told Plaintiff to approach him

at or around the Bubble.

         49.   CO GREEN’s statements and actions were recorded on audio and video

surveillance recordings.

         50.   Upon information and belief, CO GREEN can be heard on the audio

recordings stating, “You ready [unintelligible] me my blow job?”

         51.   Plaintiff did not hear CO GREEN’s statement.

         52.   Plaintiff approached the Bubble as instructed.

         53.   Plaintiff and CO GREEN spoke for several moments before Plaintiff

returned to her cell.

         54.   Plaintiff’s cell door remained open.

         55.   Approximately two minutes later, CO GREEN entered Plaintiff’s cell.

CO GREEN was unaccompanied by any other correctional officers or other BHCF

staff.

         56.   Once inside Plaintiff’s cell, CO GREEN grabbed Plaintiff by Plaintiff’s

arms and pushed Plaintiff against the wall.

         57.   CO GREEN then licked, kissed, and bit Plaintiff’s neck.

         58.   CO GREEN also grabbed and fondled Plaintiff’s breasts over Plaintiff’s

clothing.


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        59.   Plaintiff attempted to push CO GREEN away. CO GREEN

overpowered Plaintiff, grabbed Plaintiff and forcibly pushed her into the wall. CO

GREEN then pressed his body into Plaintiff’s body.

        60.   CO GREEN then pulled up Plaintiff’s shirt and bra exposing Plaintiff’s

breasts.

        61.   CO GREEN kissed, licked, and bit Plaintiff’s neck, chest, breasts, and

nipples.

        62.   CO GREEN also put his hands down Plaintiff’s shorts and fondled

Plaintiff’s genitalia and groin.

        63.   CO GREEN attempted to remove Plaintiff’s shorts by pulling down on

them but was unable to remove the shorts while trapping Plaintiff against the wall

with his body.

        64.   Throughout the assault, Plaintiff continued to try to push CO GREEN

away.

        65.   At one point during CO GREEN’s sexual assault of Plaintiff, CO

GREEN and Plaintiff heard a loud knock on the unit door, approximately ten feet

away from Plaintiff’s cell.

        66.   A correction officer, CO JOHN DOE #1, had approached the Bubble

and, seeing it empty, knocked on the unit door to gain admittance.

        67.   CO GREEN exited Plaintiff’s cell and rushed back to the Bubble.

        68.   Once inside the Bubble, CO GREEN used the panel to remotely open

the access door for CO JOHN DOE #1.


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       69.   Simultaneously, CO GREEN closed Plaintiff’s cell door from the

Bubble.

       70.   The next morning, on March 11, 2016, Plaintiff told the Unit Officer,

CO FNU WILLIAMS that she wanted to speak to the “PREA Representative.”

       71.   The PREA Representative is another term for the PREA Compliance

Manager (“PREA CM”).

       72.   The PREA CM is responsible for coordinating BHCF’s efforts to comply

with PREA standards.

       73.   At all relevant times, BHCF’s PREA CM was ELAINE VELEZ.

       74.   CO FNU WILLIAMS refused to allow Plaintiff to speak with the PREA

CM unless Plaintiff first told CO FNU WILLIAMS what Plaintiff wanted to tell the

PREA CM.

       75.   Plaintiff refused to tell CO FNU WILLIAMS the details of the incident.

       76.   Instead, Plaintiff went to the phones and dialed the PREA hotline at

#77.

       77.   Immediately after Plaintiff’s phone call with the PREA hotline,

Sergeant FNU SPIEGHTS asked Plaintiff what Plaintiff was doing on the phone.

       78.   Plaintiff responded that Plaintiff was talking to the PREA hotline.

       79.   Sergeant FNU SPIEGHTS told Plaintiff that Plaintiff must tell her

about the incident before she could report it to PREA.

       80.   Plaintiff refused and restated her desire to speak to the PREA CM.




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      81.    Sergeant FNU SPIEGHTS continued to insist that Plaintiff tell her the

details of the incident.

      82.    Frustrated, Plaintiff, looked up at the microphones dangling above

them and loudly stated, “Last night, one of your officers sexually assaulted me.”

      83.    Sergeant FNU SPIEGHTS then ordered Plaintiff to get dressed and to

come with her to her office.

      84.    Upon information and belief, Sergeant FNU SPIEGHTS’ office is not

under video or audio surveillance.

      85.    Sergeant FNU SPIEGHTS again told Plaintiff that Plaintiff must tell

her the details of the incident before she would alert the PREA CM.

      86.    Plaintiff again refused.

      87.    Finally, Sergeant FNU SPIEGHTS requested the PREA CM, ELAINE

VELEZ, to come meet Plaintiff.

      88.    Plaintiff met with Sergeant F.N.U. SPIEGHTS, VELEZ, and the

Deputy of Security, FNU MURPHY.

      89.    While Plaintiff reported details of the assault, Deputy of Security

FNU MURPHY asked Plaintiff what Plaintiff did or said to make CO GREEN feel

like CO GREEN was permitted to enter Plaintiff’s cell and be sexually intimate

with Plaintiff.

      90.    VELEZ properly informed Deputy of Security FNU MURPHY that

such a question was inappropriate.




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       91.      After Plaintiff reported the assault, she was transferred to Westchester

County Medical Center.

       92.      Upon information and belief, samples were taken from Plaintiff’s neck

and breasts, which yielded positive results for saliva.

       93.      Upon information and belief, the saliva recovered from Plaintiff’s body

matched CO GREEN.


             B. Retaliation Against Plaintiff for Reporting the Assault

       94.      Upon information and belief, Plaintiff’s report of CO GREEN’s sexual

abuse did not remain confidential.

       95.      Since Plaintiff reported the sexual assault by CO GREEN, the

relationship between Plaintiff and the correctional officers has changed

dramatically.

       96.      Correctional officers assigned to security positions are now rude and

aggressive towards Plaintiff.

       97.      Correctional officers glare at Plaintiff when she enters a room and

appear to whisper about her when she walks by them in the hallway.

       98.      Plaintiff has also been subjected to several specific retaliation efforts

by BHCF’s correctional officers.

       99.      About one to two weeks after Plaintiff reported the sexual assault to

authorities, CO FNU HENRY passed Plaintiff on the sidewalk and said, “There

goes the girl getting a million dollars for getting her tits licked.”




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       100.   One day, sometime after the assault, while Plaintiff was in the lobby,

CO FNU PAIGE called Plaintiff a liar who was just trying to get officers fired.

       101.   A day later, Plaintiff began feeling ill during one of her programs and

was sent to the lobby officer to be escorted to medical.

       102.   CO FNU PAIGE was the lobby officer on duty. CO FNU PAIGE again

accused Plaintiff of being a liar and a faker, both related to her illness and to the

reported assault.

       103.   Correctional officers have conducted searches of Plaintiff’s person and

cell with increased frequency and thoroughness since Plaintiff reported the assault.

       104.   No contraband has been found.

       105.   Plaintiff made a formal written complaint about the frequency of

searches. Months later, after no action was taken on the written complaint,

correctional staff requested that Plaintiff “sign off” on the written complaint,

effectively withdrawing it.

       106.   Upon information and belief, Plaintiff’s “sign off” on the complaint had

the effect of deleting any record of it.

       107.   Plaintiff agreed to “sign off” on the complaint because no progress was

being made and because the frequency of unnecessary searches had reduced in the

intervening months.

       108.   CO FNU GARCIA completed at least one of the unnecessary searches

at unit 113, C Corridor, Cell 20 on or about July or August 2016.




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        109.    After Plaintiff complained about the searches, CO FNU GARCIA,

approached Plaintiff and told her that “higher-ups” ordered the searches because

they heard that Plaintiff was writing a book related to the sexual assault of

Plaintiff.


             C. The October 18, 2016 Incident

        110.    On or about October 18, 2016, Plaintiff returned to her cell after taking

a shower.

        111.    All the cell doors were open.

        112.    Plaintiff put up a privacy curtain to change from her bathrobe into her

clothes.

        113.    Shortly after Plaintiff removed her robe, CO FNU JACKSON, a male

correction officer, without warning or entry, pushed aside Plaintiff’s privacy curtain

and took a step into Plaintiff’s cell.

        114.    DOJ regulation 28 C.F.R. § 115.15 and BHCF Directive #4001, Facility

Administrative Coverage and Supervisory Rounds, 4/7/14 IV B, requires that staff

of the opposite gender announce their presence when entering an inmate housing

unit.

        115.    BHCF’s policies require that inmates be permitted to shower, perform

bodily functions, and change clothing without nonmedical staff of the opposite

gender viewing them.

        116.    Plaintiff was completely naked when CO FNU JACKSON entered

Plaintiff’s cell.

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      117.   Upon information and belief, CO FNU JACKSON then looked at

Plaintiff and said to Plaintiff, “Come get it.”

      118.   CO FNU JACKSON then left Plaintiff’s cell and returned to the

Bubble.

      119.   Plaintiff put her robe on and immediately walked to the Bubble.

      120.   Plaintiff told the other officer on duty, CO FNU EDDY, that Plaintiff

wanted to speak to the Sergeant.

      121.   CO FNU EDDY asked Plaintiff why she needed the Sergeant. Plaintiff

told CO FNU EDDY what CO FNU JACKSON had done.

      122.   CO FNU EDDY told Plaintiff to “let it go” and that CO FNU

JACKSON was just doing “rounds.”

      123.   Plaintiff again requested the Sergeant but CO FNU EDDY refused to

notify the Sergeant for Plaintiff.

      124.   Plaintiff left the unit and told another officer, CO JOHN DOE #2,

about the incident.

      125.   Plaintiff again requested the Sergeant.

      126.   Approximately three hours after Plaintiff returned to her unit, a

sergeant, CO JOHN DOE #3 contacted Plaintiff.

      127.   CO JOHN DOE #3 told Plaintiff that CO FNU JACKSON was just

doing rounds.

      128.   Unable to get assistance from correctional officers, Plaintiff called the

PREA hotline to report the incident.


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       Upon information and belief, Plaintiff has not received any updates regarding
       the status of her report.
   III. Aftermath of the Assault

         129.   Since the March 10, 2016 sexual assault and the subsequent

retaliation efforts against Plaintiff, Plaintiff suffers from anxiety, paranoia,

depression, and feelings of helplessness.

         130.   Plaintiff also experiences vivid flashbacks of the assault by CO

GREEN.

         131.   Plaintiff became so depressed that she sought counseling from the

Office of Mental Health (“OMH”), and she was put on anti-depressants.

         132.   Previously, Plaintiff had repeatedly refused medication because she

had a history of substance. After the assault, the flashbacks became so

overwhelming, however, that Plaintiff agreed to take medication.


   IV.      Defendants are Aware of Systematic Failures to Protect Female Inmates
            From Sexual Abuse by Correctional Staff

         Sections A-C below are taken from the Complaint filed in Jones v. Annucci,

ECF 16-cv-1473(RA), ¶¶ 15-52, which are fully incorporated into this complaint.


            A. Defendants Know that Women Prisoners are at Substantial Risk of
               Sexual Misconduct by DOCCS Staff

         133.   Defendants are aware that prisoners are at risk of sexual abuse from

prison staff.




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            a. Awareness of the risk and incidence of sexual abuse in a prison setting

         has led the federal government, the District of Columbia, and all fifty states 1

         to enact statutes criminalizing any sexual contact between prisoners and

         correctional staff. See, e.g., N.Y. Penal Law § 130.05(e).

            b. Awareness of the risk of custodial sexual abuse has led to the

         enactment of PREA.

            c. The Office of Special Investigations (“OSI”) receives approximately 200

         complaints of staff sexual misconduct and harassment each year. 2

         134.   For a number of reasons and from a variety of sources, Defendants are

aware that assigning male staff to guard female prisoners creates obvious risks of

sexual abuse.

            a. Defendants are aware that sexual abuse occurs in their women’s

         facilities3 and that sexual abuse of women prisoners is primarily perpetrated

         by male correctional staff.


1National Criminal Justice Reference Service, National Prison Rape Elimination
Commission Report at 37 (June 2009), https://www.ncjrs.gov/pdffiles1/226680.pdf.
2
 U.S. Dept. of Justice, Bureau of Justice Statistics, “Survey of Sexual Violence in
Adult Correctional Facilities 2009–2011,” Statistical Tables at 7-11 (Jan. 2014),
http://www.bjs.gov/content/pub/pdf/ssvacf0911st.pdf (in 2011, there were 184
allegations of staff sexual misconduct and 24 allegations of staff sexual harassment;
in 2010, 168 allegations of staff sexual misconduct and 65 of staff sexual
harassment, and in 2009, 173 allegations of staff sexual misconduct and 38 of staff
sexual harassment) (“2009-2011 BJS Sexual Violence Statistics”).
3
    See Ex. A, August 26, 2015 Letter from DOCCS (Kimberly Sesselman, Assistant
Records Access Officer, response to counsel request under the NYS Freedom of
Information Law [“FOIL”] detailing that 78 investigations into staff sexual abuse
were opened at the women’s prisons in 2012, and 61 were opened in 2013) (“Aug. 26,
2015 FOIL Response”).
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            b. Awareness of the risk and incidence of sexual abuse in a prison setting

         has led to the promulgation of international standards prohibiting the

         assignment of male correctional staff to guard women prisoners. United

         Nations Standard Minimum Rules for the Treatment of Prisoners, Rule 53,

         adopted Aug. 30, 1955.

            c. Awareness of the risk and incidence of sexual abuse in a prison setting,

         including the particular risks facing women prisoners, has led several states

         and local correctional institutions to require the presence of female staff to

         guard women prisoners, and even to remove men from guarding women

         prisoners, at least in housing areas. 4




4   See, e.g., Teamsters Local Union No. 117 v. Washington Dep’t of Corrs., 789 F.3d
979 (9th Cir. 2015) (holding that the Washington Department of Corrections was
entitled to the bona fide occupational qualification (“BFOQ”) defense because it was
“well justified in concluding that rampant abuse should not be an accepted part of
prison life and taking steps to protect the welfare of inmates under its care.”); Tipler
v. Douglas County, Nebraska, 482 F.3d 1023 (8th Cir. 2007) (prison policy relying
on Nebraska Code, § 47-111, which required supervision of female inmates in
county jails by a female matron, did not violate Title VII); Everson v. Michigan
Dep’t of Corrs., 391 F.3d 737, 748, 751 (6th Cir. 2004) (reversing trial court’s
decision and finding that, given the “grave problem of sexual abuse of female
inmates,” the Michigan Department of Corrections’ [“MDOC’s] plan to designate
certain female-only positions on housing units did not violate the civil rights of
corrections officers because sex is a “BFOQ reasonably necessary to the normal
operation of [a] particular business or enterprise”); Reed v. County of Casey, 184
F.3d 597 (6th Cir. 1999) (upholding a gender-based transfer of a female deputy
jailer where it was reasonably required to comply with Kentucky law requiring
female supervision of female inmates); Robino v. Iranon, 145 F.3d 1109 (9th Cir.
1998) (finding that gender was a BFOQ in assigning female officers to particular
posts when those posts required the officers “to observe the inmates in the showers
and toilet areas…or provide[] unsupervised access to the inmates.”); Tharp v. Iowa
Dep’t of Corrs., 68 F.3d 223 (8th Cir. 1995) (finding that sex-based shift restrictions
do not implicate Title VII where the “policy was adopted to meet legitimate
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         d. Defendants are aware that women prisoners are a particularly

      vulnerable population who face a heightened risk of sexual abuse by male

      officers. As many as 80% of women prisoners have been physically or sexually

      abused prior to their incarceration. 5 A larger number of incarcerated women

      have histories of sexual and physical abuse than male prisoners or women

      who have never been incarcerated.6 These abuse histories make women

      especially vulnerable to coercion and manipulation.7



penological concerns… and… plaintiffs ha[ve] many different shift assignments and
promotions available to them.”); Torres v. Wisconsin Dep’t of Health and Soc.
Servs., 859 F.2d 1523 (7th Cir. 1988) (en banc) (reversing District Court’s finding
that defendants had not established sex as a valid BFOQ in supervising female
felons under Title VII, and remanding to District Court for further consideration);
see also 9 NYCRR § 7504.1(e) (“Supervision of female prisoners shall be
accomplished by a matron, and a female prisoner shall not be placed in or removed
from a detention area unless the matron is present. The matron shall return the
key for the detention area females and no male person shall be permitted to enter
an area where female prisoners are detained unless accompanied by the matron.”).
5
  57.2 percent of females report abuse before admission to state prison versus 16.1
percent of males. 39.0 percent of female state prison inmates report that they were
sexually abused before admission to state prison versus 5.8 percent of males. U.S.
Dept. of Justice Bureau of Justice Statistics, “Prior Abuse Reported by Inmates and
Probationers” at 1 (April 1999) (“BJS Prior Abuse”), http://www.bjs.gov/content/
pub/pdf/parip.pdf; see also Allison Hastings, Angela Browne, Kaitlin Kall, and
Margaret diZerega, “Keeping Vulnerable Populations Safe Under PREA:
Alternative Strategies to the Use of Segregation in Prisons and Jails” at 11-13
(March 2015), http://www.vera.org/pubs/housingvulnerable-populations-prea-guide
(“[W]omen in the criminal justice system report more extensive victimization
histories – of sexual and physical abuse – than women who have not been
incarcerated or men who have been incarcerated. In one study of women in …
maximum security prison, more than half (59%) of women in the study reported
childhood sexual molestation, and 77 percent reported lifetime physical or sexual
assaults by non-intimates.”).

6 BJS Prior Abuse, supra, note 7, at 1-2 (over one-third of female state prisoners and
jail prisoners reported being abused as children, compared to estimates from 12-
                                         20
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        135.   In addition to awareness based on the ample information regarding the

problem of staff sexual abuse in correctional settings generally, Defendants are

aware of the substantial risk to women prisoners of sexual misconduct by male staff

in New York facilities given DOCCS’ own actual experience, particularly because

DOCCS knows that sexual abuse is significantly under-reported in the prison

context.8

            a. In 2012, 78 investigations were opened by the Sex Crimes Unit

        (“SCU”) into sexual misconduct involving DOCCS staff at the all-women’s



17% of females in the general population.); Browne, A., Miller, B., & Maguin, E.,
Prevalence and Severity of Lifetime Physical and Sexual Victimization Among
Incarcerated Women, International Journal of Law and Psychiatry 22 at 301-322
(1999) (finding higher rate of abuse history than BJS data, with 70% of incarcerated
women interviewed in a New York maximum security prison reporting physical
violence and nearly 60% reporting sexual abuse).

7   See Cindy Rich, Amy Combs-Lane, Heidi Resnick & Dean Kilpatrick, Child Sexual
Abuse and Adult Sexual Revictimization, From Child Sexual Abuse to Adult Sexual
Risk: Trauma, Revictimization, and Intervention (2004). A 2013 report from the
DOJ’s Bureau of Justice Statistics states that “[i]nmates who experienced sexual
victimization before coming to the facility were also more likely than inmates with
no sexual victimization history to report incidents of sexual victimization involving
other inmates and staff.” U.S. Dept. of Justice, Bureau of Justice Statistics, “Sexual
Victimization in Prisons and Jails Reported by Inmates 2011-12” at 19 (May 2013)
(“2011-2012 BJS Statistics”), www.bjs.gov/content/pub/pdf/ svpjri1112.pdf;
Messman-Moore, T.L. & Long, P.J., “Child Sexual Abuse and Revictimization in the
Form of Adult Sexual Abuse, Adult Physical Abuse, and Adult Psychological
Maltreatment,” J. Interpers. Violence 15 (5) at 489-502 (May 2000) (women with
childhood sexual abuse history were more likely to experience adult sexual violence,
physical violence and psychological maltreatment as adults, and were more
vulnerable to verbal coercion or pressure from individuals in authority).

8 United States Dep’t of Justice, “Regulatory Impact Assessment for PREA Final
Rule” at 17-18 (May 17, 2012), http://www.ojp.usdoj.gov/programs/pdfs/prea_ria.pdf
(“DOJ Regulatory Impact Assessment”).

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         prisons, which currently include Albion, BHCF, and Taconic.9 In 2013, 61

         such investigations were opened.10

            b. Women prisoners, although a small segment of the total DOCCS

         inmate population, represent a disproportionately high percentage of victims

         of staff-on-inmate sexual abuse in Defendants’ prisons. 11

            c. A disproportionate number of the more than 200 complaints of sexual

         abuse and harassment that OSI receives each year arise from the women

         prisons.12

            d. As recently as 2014 and 2015, male correctional staff from DOCCS

         women prisons have been criminally charged or convicted of crimes of sexual

         misconduct, including, most recently, several correction officers from BHCF.

         DOCCS received complaints of sexual misconduct about some of these officers




9Two women’s prisons, Beacon and Bayview Correctional Facilities, were closed in
2013.

10   Ex. A, Aug. 26, 2015 FOIL Response, supra, note 5.

11 95.6% of the 53,565 prisoners in custody as of January 1, 2014 were male, and
only 4.4% were female. See DOCCS, “Under Custody Report: Profile of Under
Custody Population as of January 1, 2014,” at 17,
http://www.doccs.ny.gov/Research /Reports/2014/Under Custody_Report_2014.pdf.
However, there were 84 allegations of abuse from the women prisons in 2012 and 68
in 2013, compared with overall complaints by all prisoners of sexual abuse by staff
of 211 allegations in 2009, 233 in 2010 and 208 in 2011. See Ex. A, Aug. 26, 2015
FOIL Response, supra, note 5 (78 allegations of sexual misconduct in women
prisons during 2012; 61 allegations during 2013).

12   See id.; see 2009-2011 BJS Sexual Violence Statistics, supra, note 4.

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      prior to the incidents leading to their arrest, and yet failed to increase

      supervision over these officers.

         e. Women prisoners have been impregnated by male staff in DOCCS

      prisons.13

         f. The DOJ’s Bureau of Justice Statistics periodically releases reports of

      anonymous surveys on sexual victimization in prisons and jails. The last

      time that women prisoners in New York were included in the survey, New

      York State prisoners self-reported the highest rates of staff sexual abuse in

      the nation.14

         g. Defendants have been party to a number of injunctive and damages

      cases brought in both state and federal courts by women prisoners who have

      been victims of staff sexual abuse. The cases include the putative class action

      litigation Amador v. Andrews, which was brought on behalf of 17 named

      plaintiffs in 2003. See Case No. 03 Civ. 0650 (S.D.N.Y. 2003). In the decade-

      plus during which that case was pending, there were several motions to

      amend the Complaint to add new named plaintiffs and identify policy failures

      to reflect the ongoing sexual abuse problem within DOCCS.




13Alysia Santo, Raped Behind Bars, Albany Times Union, Sept. 9, 2013, available
at www.timesunion.com/local/article/raped-behind-bars-4795883.php#page-1
(“Prison officials say there have been seven pregnancies since 2000 in which the
father of the inmate's child was a staff member from the facility”).

14Beck, Harrison, Berzofsky, Caspar, & Krebs, U.S. Dep’t of Just., Bureau of Just.
Stat., “Sexual Victimization in Prisons and Jails Reported by Inmates, 2008-09” at 9
(2010), http://bjs.ojp.usdoj.gov/content/pub/pdf/svpjri0809.pdf.
                                          23
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          h. The New York State Court of Claims has similarly seen several cases

      in which a woman inmate has brought claims against the State for abuse by

      an officer with prior complaints of sexual abuse. See, e.g., Patterson v. State

      of New York, 44 Misc. 3d 1230(A) (Ct. Cl. Aug. 29, 2014) (granting the

      claimant’s motion for summary judgment and finding State liable when an

      officer sexually assaulted her following repeated complaints of sexual abuse

      by other prisoners); Anna O. v. State, No. 114085, M-80202 (N.Y. Ct. Cl. Aug.

      15, 2012) (finding state liable when “Defendant had notice of [Officer’s]

      propensity to pursue unauthorized relationships with inmates and yet left

      him in the position to continue to pursue the same, which was the proximate

      cause of the later rape of Claimant by [Officer]”); Morris v. State, Cl. No.

      100694-A, M-80583 (N.Y. Ct. Cl. Mar. 6, 2012) (finding state liable when

      Officer had multiple previous unsubstantiated allegations of sexual assault

      against him, and was permitted to continue supervising inmates, in some

      cases as a roundsman under “diminished supervision”).

      136.   Defendants know that cases that result in criminal prosecutions or the

discipline of staff do not reflect the entire universe of staff misconduct, given that

Defendants only investigate incidents of sexual misconduct, harassment, and abuse

that have been reported, and Defendants know that staff sexual abuse is

significantly underreported.15



15
  See DOJ Regulatory Impact Assessment, supra, note10, at 17-18 (concluding
that, based upon the 2008-2009 BJS survey, between 69-82% percent of inmates
who reported sexual abuse in response to the survey had never
                                           24
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             a. Victims of sexual abuse, generally, are unlikely to come forward with

         complaints of sexual misconduct due to embarrassment and humiliation and

         a fear that such complaints will be greeted with skepticism or disbelief.

             b. These concerns are exacerbated in a correctional setting, where the

         persons to whom such complaints are to be made are colleagues of the

         perpetrator(s) of the abuse, putting the victim at risk of retaliation; where

         complaints of such abuse are not maintained in a confidential fashion; and

         where there is a well-founded belief by women prisoners that such complaints

         will be greeted with skepticism and will not result in any action against the

         perpetrator.

             c. Women prisoners who were subjected to physical or sexual abuse prior

         to their incarceration, particularly those who complained to no avail, may

         face additional psychological and emotional obstacles to complaining of

         sexual misconduct while in prison. These women are unlikely to come

         forward with such complaints while in prison. 16

             d. Women prisoners are justified in believing that their reports will be

         disbelieved: of the allegations of staff sexual misconduct that are reported,

         DOCCS substantiates only a small percentage, a percentage that continues to

         fall.17


reported an incident to corrections staff).
16   See generally, id.

 2009-2011 BJS Sexual Violence Statistics, supra, note 4, at 7-11. See also Ex. B,
17

Dec. 2, 2015 Letter from DOCCS (Deputy Counsel Nancy Heywood) response to
                                              25
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         137.   Defendants’ failure to implement and enforce policies and practices

that would actually prevent and punish all sexual abuse contributes to a lenient

and permissive prison culture and increases the risk of sexual abuse of women

prisoners.

            a. Some of the abuse that takes place in prisons is deemed by staff to be

         “consensual.” In other words, the inmates are not necessarily subjected to

         physically forcible abuse, but rather appear to enter into sexual contact

         voluntarily. However, any purportedly “consensual” sexual activity between

         correctional staff and the prisoners they are paid to guard and control is a

         fallacy, regardless of the “willingness” of the prisoner. Consent in such

         circumstances is non-existent under the law, as nearly every state legislature

         in the United States has recognized.18

            b. Purportedly “consensual” sexual activity between inmates and officers

         does not resemble actual “consent” as it might exist outside of the prison

         context.

            c. Instead, the coercive nature of the relationship between officers and

         prisoners is well-recognized. There is a clear power differential, with officers



clarification and appeal under the NYS Freedom of Information Law (detailing that
of 78 investigations opened at the four female facilities in 2012, four involving male
staff were substantiated, and, in 2013, of the 61 investigations opened, two
involving male staff were substantiated).
18
     See Margaret Penland, A Constitutional Paradox: Prisoner “Consent” to Sexual
Abuse in Prison under the Eighth Amendment, 33 Law and Inequality 507, 508
(2015).

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         having complete discretion over the treatment of the prisoner under his

         supervision, including the ability to discipline a prisoner should she disobey

         an order. As previously stated, the recognition of this dynamic is reflected in

         the criminal laws of almost every state, criminalizing sexual acts by

         correctional officers with prisoners and barring the assertion of “consent” as a

         defense.19

            d. Frequently, staff increase the level of coercion and manipulation by

         providing prisoners with contraband such as money, personal care items,

         food, or even drugs and alcohol. Staff members frequently talk with

         prisoners about their personal lives and then use the information about their

         families or about their histories with drug and alcohol abuse for further

         coercion.20

            e. There is often evidence of physical force during the sexual acts

         themselves. These acts of aggression and violence intimidate the women

         victims and make them fearful of how the staff person may harm them

         should they reject any future advances or requests.




19   See Project on Addressing Prison Rape, “Fifty-State Survey of Criminal Laws
Prohibiting Sexual Abuse of Individuals on Custody” (Sept 10. 2013), https://www.
wcl.american.edu/endsilence/documents/50StateSurveySSMLAWS2013Update.pdf.
20
  D.O.J., National Institute of Corrections, “Research, Practice and Guiding
Principles for Women Offenders, Gender Responsive Strategies,” at 5 (June 2003),
www.nicic.gov/library/files/018017.pdf (“Women’s substance abuse has been shown
to be highly correlated with physical and sexual abuse. Women in state prisons who
had experienced abuse prior to their arrests reported higher levels of alcohol and
drug abuse”).
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            f. And finally, once an officer has convinced a prisoner to “go along” with

         sexual activity, it is increasingly difficult for the prisoner to extricate herself

         from the “relationship” for fear of retaliation by the officer or his colleagues.


            B. Defendants Fail to Enact Supervisory Policies that Would Prevent
               Sexual Abuse by Male Staff and Fail to Enforce Existing Policies

         138.   Despite known risks and incidents of sexual misconduct by staff,

Defendants, through their policies and practices (or lack thereof) have recklessly

disregarded these risks, and have failed to protect the women prisoners in their

custody from harm.

         139.   Defendants inadequately supervise correctional staff, placing women

prisoners at a heightened risk of sexual abuse.

         140.   Defendants have failed to enact appropriate rules and policies

concerning the behavior of male staff and fail to enforce existing rules and policies

governing staff behavior.

         141.   Despite knowledge of the risk of sexual abuse in women’s prisons,

Defendants assign male staff to posts on which they have ample opportunity for

unmonitored contact with women prisoners.

            a. Defendants have designated very few assignments within DOCCS’

         women’s prisons as female-only posts,21 and Defendants supervise male staff




21   See Ex. C, DOCCS Directive 2230, “Guidelines for Assignment of Male and
Female Officers” at § II.A-D.

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      guarding female prisoners no differently from the way they would supervise

      same-gender supervision of men.

          b. Male staff may be assigned, alone, to areas where no other staff are

      within range for visual contact. This includes assignments that cover remote

      or isolated areas not monitored by video surveillance and even overnight

      shifts in housing areas.

          c. Defendants allow male correctional staff to bid for (to choose) their own

      assignments, without regard to the number or severity of allegations of

      sexual misconduct that have been made by women prisoners about them.

      142.   Defendants have failed to enact adequate rules and policies to monitor

and discipline staff engaged in behavior that constitutes warning signs of sexual

abuse, such as spending a disproportionate amount of time talking to a particular

prisoner, repeatedly requesting a particular prisoner for a particular assignment,

discussing their personal life with a prisoner, or asking a prisoner personal

questions. Staff are not disciplined or informally counselled when supervisors

witness behavior that is indicative of warning signs of sexual abuse.

      143.   Defendants have failed to enact adequate rules and policies to protect

women prisoners from sexual innuendoes, degrading sexual comments, and

propositioning, and to enforce those rules and policies that do exist.

      144.   Defendants have failed to enact appropriate rules and policies

concerning the behavior of male staff posted to housing units in order to protect the

privacy of women prisoners and to protect them from harassment. Defendants also


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fail to enforce those rules and policies that do exist. For example, DOCCS policy

requires male staff to announce their presence only the first time that they enter a

living area,22 allowing male officers to re-enter living quarters and bathroom areas

unannounced, and to watch women dress and undress. Male staff are not

disciplined or reprimanded for such conduct.

         145.    Defendants have failed to take sufficient action when officers leave

their assigned posts, allow inmates into areas where inmates are not permitted, ask

women to volunteer or work on jobs to which they have not been formally assigned,

and engage in open and obvious behavior that is clearly suggestive of inappropriate

relationships.

         146.    Defendants permit officers virtually unfettered access to private,

unmonitored areas such as bathrooms, kitchen store rooms, storage closets, slop

sink areas, basements, classrooms, laundry areas, and private areas of prison yards.

At the same time, Defendants fail to prohibit officers from being alone with women

prisoners in such areas where sexual abuse of women prisoners is easily

accomplished. When instances of staff sexual misconduct have been substantiated,

they are often found to have occurred in these isolated, and largely unmonitored,

areas.

         147.    Defendants fail to require and conduct reasonable searches of

correctional staff upon entry to correctional facilities that could help prevent or

discourage sexual abuse or ultimately assist in the investigation of allegations of



22   See id. at § II.E.
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staff sexual misconduct. The failure to catch correctional staff with contraband

such as drugs and alcohol, or to limit entry of condoms, cell phones, notes, and other

personal items allows officers the opportunity to use these items to influence,

coerce, or otherwise manipulate prisoners into performing sexual acts and limits the

evidence that could be used in investigations of staff sexual misconduct.

      148.   Defendants fail to increase the supervision of those correctional officers

known to pose a heightened risk of sexual abuse to women prisoners.

         a. Defendants have failed to promulgate policies that would provide for

      additional rounds to more closely supervise staff about whom complaints of

      sexual abuse have been made.

         b. Staff who are the subject of credible or repeated allegations of sexual

      abuse are allowed to continue their usual posts and permitted to access

      private, unmonitored areas. They can even be permitted to continue to guard

      or to have contact or proximity with the prisoner who has complained about

      the officer.

      149.   To the extent Defendants have installed or required installation of

surveillance cameras, use of those cameras for supervision remains grossly

inadequate to protect women prisoners.

         a. Surveillance cameras have not been installed throughout the women’s

      prisons. Many enclosed and isolated areas inside the prison, or isolated areas

      outside the prison, where sexual abuse is more likely to occur, or has been

      reported to have occurred, are completely outside of any video or audio


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      surveillance. These areas include storage closets, laundry rooms, slop sink

      areas, sheds, outside work areas, and basements.

          b. For areas for which there are privacy concerns, like bathrooms, living

      areas, and religious program areas, Defendants have failed to reduce the use

      of these areas for sexual abuse by installing video surveillance that would

      show entry and exit from these areas or movement within them, such as staff

      lingering by beds in dorm areas.

          c. Upon information and belief, camera placement is not informed or

      increased upon receipt of multiple credible complaints of or other knowledge

      of abuse occurring in particular areas or by particular staff assigned to a

      particular area.

      150.   Staff are left alone and virtually unmonitored by supervisors for hours

at a time, with staff supervision consisting almost entirely of supervisory “rounds.”

      151.   Defendants fail to enact and enforce adequate rules and policies that

dictate the content and substance of limited supervisory rounds.

          a. Facility supervisory rounds can consist of merely stopping by the

      assigned line officers’ desk or office, signing the logbook and nothing more.

          b. There is no requirement that supervisory staff must see each officer on

      duty, check in verbally with each officer, ask the officers any particular

      questions, speak with the prisoners on a housing unit or program

      assignment, or ask them if they have problems, or that they observe the




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      entire area, the prisoners and the staff, for any misconduct, or make any

      notations on what they observe.

          c. On information and belief, supervision does not include observation

      and counselling or discipline for officers engaged in behavior evincing

      warning signs of sexual abuse, including engaging in personal conversations

      with inmates, sharing personal items with inmates, or repeatedly requesting

      a particular inmate for special assignments in secluded locations.

      152.   Defendants fail to require a set number and frequency of supervisory

rounds by most supervisory officers. Only rounds by the Superintendent and her

executive team are required at a specified frequency, and that is only once a week, 23

with no other written policies and procedures directing the frequency and regularity

of rounds. In practice, sergeants typically visit each post once or twice per shift.

      153.   Defendants fail to require unpredictable supervisory rounds. Facility

supervisors routinely conduct rounds in a predictable manner, failing to vary their

time, frequency, and point of entry, leaving staff able to predict periods of time,

such as the time around shift change or after a supervisor has passed through,

when they can virtually be assured that they can engage in sexual misconduct with

women prisoners without being discovered.

      154.   In addition, Defendants fail to enforce existing policies concerning

unannounced supervisory rounds. Therefore, even where line officers might be

unable to predict a time frame without rounds, they nonetheless receive a warning


23Ex. D, DOCCS Directive 4001 “Facility Administrative Coverage and Supervisory
Rounds”, § VI.
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of imminent rounds from their co-workers. In some cases, supervisory staff actually

inform officers of their next destination while conducting rounds, and officers use

that information to alert the officers at the supervisor’s next destination that the

supervisor will soon be approaching. Although nominally a new policy limiting such

conduct has been promulgated, officers continue to call, radio, or use other ways to

alert staff, such as tapping on their walkie-talkies in order to indicate that a

supervisor is approaching. On information and belief, Defendants fail to take steps

to enforce this policy, making no effort to assess whether it is being followed, and

fail to discipline staff for insubordination if they observe or otherwise find that staff

have ignored or violated this policy.


          C. Defendants Maintain Grossly Inadequate Policies and Practices for
             Investigating and Taking Action in Response to Complaints of Sexual
             Assault

      155.   Defendants’ system for the reporting, investigation, and response to

complaints of sexual misconduct is grossly inadequate to prevent and remedy

ongoing sexual misconduct. The current system, which relies almost completely

upon women prisoners to come forward and report the misconduct, fails to utilize

reasonable and available investigative tools, fails to credit allegations of sexual

misconduct unless the woman has physical proof or other substantial corroboration

of the misconduct, is biased, deters women prisoners from reporting sexual

misconduct, and fails to take appropriate action against perpetrators if and when

women do come forward. The effect of this system is to allow sexual misconduct by

staff to continue virtually unabated.

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               i.   Defendants Fail to Take Affirmative Steps to Investigate Staff
                    Sexual Misconduct Despite Knowledge That Sexual Abuse Is
                    Under-Reported, Thus Placing Women Prisoners at an
                    Increased Risk of Abuse.

      156.   Defendants know that, given the reluctance of victims of staff sexual

abuse to come forward, having an investigative and discipline system that relies

primarily on women prisoners to volunteer complaints is insufficient to prevent and

remedy this misconduct. Nonetheless, Defendants rely on such a system and fail to

utilize other means to root out sexual misconduct.

      157.   Women prisoners, particularly those who receive favors from officers

such as contraband, are unlikely to report abuse because they understand they may

be subject to punishment and are therefore chilled and deterred from reporting,

thereby perpetuating staff misconduct.

         a. Women understand that they may be charged with disciplinary

      offenses such as possession of contraband, being out of place, or inappropriate

      conduct with an officer. Women also understand that they may be charged

      with making false statements if DOCCS does not believe their complaints

      were made in good faith.

         b. Women who make such complaints are often transferred to different

      prisons, while the perpetrator is permitted to continue working in the same

      facility. These transfers may disrupt women’s contact with their children

      and family, and participation in program and job assignments. Because

      disciplinary history, placement in administrative segregation, and program


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      and job assignments are considered by the merit board and the parole board,

      a woman who complains about sexual misconduct also risks lengthening her

      incarceration.

      158.   Despite the low likelihood of receiving reports from women prisoners

about abuse by staff, Defendants rarely employ obvious measures to reduce the risk

of sexual misconduct between staff and women prisoners and to prevent misconduct

from occurring, escalating, or continuing. These include measures such as

heightened monitoring of situations where there have been warning signs of sexual

misconduct or inappropriate relationships; searches of correctional staff; use of lie

detectors; real-time review of video camera feeds; periodic review of camera footage;

use of electronic recording devices; exit interviews of prisoners upon transfer and

release; random interviews of staff and prisoners; and frequent, varied, and

unannounced rounds by supervisory officials.

      159.   When an area is under camera surveillance, Defendants fail to

adequately use that surveillance footage to prevent or detect sexual abuse.

          a. Upon information and belief, camera footage is only reviewed after

      there has been an allegation of sexual abuse occurring in or around an area

      where video cameras are installed. No real time or live-action review is

      conducted that might reveal misconduct or suspicious behavior. Nor is there

      periodic review of footage recorded earlier in time.

          b. Defendants do not maintain camera footage for a sufficient amount of

      time considering the frequent delays in reporting. Defendant’s maintenance


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      of camera footage is especially lacking when considered in light of how

      heavily Defendants rely on video footage for substantiating allegations.

      Digital video is maintained for only a matter of days, not the time needed in a

      sexual abuse investigation, given the widespread knowledge of victims’

      reluctance to come forward.


              ii.   Defendants’ System for Investigating Complaints of Staff Sexual
                    Misconduct is Inadequate and Places Women Prisoners at an
                    Increased Risk of Abuse.

      160.   Defendants’ treatment of women prisoners’ complaints of sexual

misconduct by staff essentially dooms those complaints to failure. An allegation of

sexual misconduct based exclusively or primarily on the statement of a woman

prisoner will not be substantiated, and will not result in any action being taken

against the staff person, even if credible and even if supported by witnesses.

      161.   Defendants require an unreasonable burden of proof before

substantiating an allegation of staff sexual misconduct and taking administrative or

disciplinary action with respect to male staff.

          a. Investigators do not apply any consistent standard in determining

      whether to substantiate an allegation of staff sexual misconduct and refer it

      for administrative action.24 Typically, for an allegation of sexual misconduct




24Ex. E, Excerpts from Testimony of Sex Crime Unit Investigator Frank Annarino
at 122 -124, July 17, 2012 (rough transcript), McDonald v. Gilbert, Cae No. 6:10-cv-
06702 (JWF), (W.D.N.Y. 2012) (Annarino could not confirm that burden of proof was
not beyond a reasonable doubt, and testified that burden of proof “depends on the
case” as “each case is different”).
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or abuse to be substantiated, there must be either physical evidence or video

surveillance.

   b. Defendants’ investigations to determine if an allegation of staff sexual

abuse should be substantiated do not give adequate, if any, weight to indicia

of sexual misconduct in the absence of physical evidence. Such indicia

include staff persons being seen out of place; staff persons allowing inmates

into areas where inmates are not permitted; staff persons engaging in

behavior suggestive of an inappropriate relationship; and staff giving

contradictory statements to investigators.

   c. Upon information and belief, Defendants’ investigations fail to give

adequate weight to similar prior complaints of sexual misconduct against the

same staff member. Such patterns may include allegations that a staff

member has used the same language in propositioning more than one woman

prisoner; allegations that an officer has taken more than one woman prisoner

to the same location to engage in sexual abuse, or allegations that an officer

has avoided having witnesses to the misconduct by engaging in the abuse

during the count, when other inmates are locked into their cells and therefore

unable to observe it.

   d. Defendants’ investigations fail to give adequate weight to the

credibility of witnesses. They do not credit the statements of prisoner

witnesses, while giving undue weight to statements of staff.




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      162.    Defendants’ investigations are not thoroughly or timely conducted and

often result in biased and unreliable refusals to substantiate women prisoners’

complaints.

         a. Upon receiving a report of sexual abuse, Defendants fail to protect

      women prisoners who complain of experiencing sexual misconduct by staff

      from retaliation or intimidation.

         b. During the investigation of a complaint, an alleged perpetrator of

      sexual misconduct can remain in the same prison and can even continue to be

      posted in areas where he will be in contact with or responsible for guarding

      the victim of the misconduct.

         c. The fear of retaliation by the officer or his colleagues can discourage

      women prisoners (both victims and witnesses) from cooperating with

      investigators when sexual abuse has been reported.

         d. Defendants do not always complete investigations into claims of sexual

      harassment and abuse in a prompt manner, potentially subjecting both the

      woman who has complained and other women prisoners to continued abuse

      for weeks or months until an investigation is complete, and subjecting the

      victim to continued uncertainty.

         e. Because Defendants do not maintain camera footage for a sufficient

      amount of time, any delays in investigation increase the already significant

      possibility that potentially corroborating camera footage will no longer be

      available.


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         163.   Investigations are not often conducted in a thorough, professional, and

unbiased manner. Instead, investigators’ methods are often hostile, use

inappropriate language, reveal confidential information about prisoners and

investigations to other prisoners, and ultimately result in deterring complete and

truthful statements from those they interview or chilling prisoner participation

completely.

            a. The OSI, which investigates allegations of staff sexual abuse, is part of

         DOCCS. It is not an independent agency.

            b. Most investigators are former corrections officers, and some are staffed

         to investigate the same facilities where they formerly worked as corrections

         officers (and, therefore, their former colleagues). Many investigators

         eventually return to work as corrections officers.

            c. The standard of proof required to substantiate an allegation of staff

         sexual abuse is not consistent across cases. 25

            d. Investigators may either fail to obtain, or unreasonably delay

         obtaining, physical evidence even when such evidence could be probative.

         For example, locations or materials potentially containing DNA that would be

         corroborative of the complaint have at times not been timely collected.

            e. Information provided to OSI investigators is also not kept confidential,

         even when staff promise confidentiality. Prisoners interviewed as potential

         witnesses are frequently told the identity of the prisoner and staff person



25   See Ex. E, id. at 122:20-123:4.
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      being investigated, who made the initial allegation, and what other prisoners

      have said to the investigator.

         f. Because staff do not conduct investigations into complaints of sexual

      misconduct in a confidential manner, the perpetrators of misconduct or their

      colleagues can easily learn of the investigation and inflict harassment or

      retaliation upon women prisoners.

      164.    As a result of Defendants’ policies and/or practices, staff against whom

credible complaints of sexual misconduct have been lodged are not moved away

from contact with women prisoners; rather, they are left in a position where they

can continue to engage in sexual misconduct or retaliation virtually without fear of

repercussions so long as no physical evidence or video footage of the abuse can be

discovered.

      165.    DOCCS policies and procedures unreasonably fail to prevent

retaliation by other staff when women prisoners lodge credible complaints about

sexual abuse. Even when separated from their abusers, women frequently

experience retaliation and verbal abuse from friends and colleagues of their abuser.


              iii.   Defendant’s System for Disciplining Staff is Inadequate and
                     Places Women Prisoners at an Increased Risk of Abuse

      166.    Upon information and belief, Defendants fail to seek disciplinary

action against staff in the absence of physical or video evidence, even when they

have received a credible complaint of staff sexual misconduct or even multiple

complaints against the same officer.


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          a. Upon information and belief, even when there is substantial

      corroboration of a complaint of staff sexual misconduct and even when

      investigative staff have substantiated an allegation, Defendants do not

      always seek disciplinary sanctions.

          b. In the absence of video corroboration or physical evidence of the

      misconduct, such as semen or proof of pregnancy, even credible allegations of

      abuse will result in no action being taken against the staff member.

          c. Even where discipline is sought, it is limited to events that are

      corroborated by officer testimony, video, or other physical evidence.

          d. As a result, sanctions for engaging in sexual misconduct do not

      effectively function as a deterrent. Instead, perpetrators simply use

      unmonitored areas of the prison to engage in acts of sexual abuse that do not

      result in physical proof.

      167.   Upon information and belief, disciplinary staff is undertrained,

including those who appear before arbitrators. They have no legal training and no

training in the prosecution of sexual abuse cases.

      168.   Discipline of staff is sought only when there is physical or video

evidence to corroborate an inmate’s complaint. Even in situations where there is

substantial proof of misconduct, including physical proof, officers are often

permitted to agree to placement at a men’s prison or in the most serious cases,

resign from employment and maintain their pensions.




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      169.   Even in situations where there is substantial proof of misconduct,

including physical proof, if an officer does not voluntarily leave or disciplinary

action is not imposed by an outside arbitrator (or even if it is imposed, upon

returning to work), then the officer is permitted to return to his bid post without

any increased supervision, even when investigative staff have substantiated the

allegation and even when probable cause has been found that criminal activity

occurred.


              iv.   Defendants’ Failure to Review and Assess Policies and
                    Procedures Places Women Prisoners at an Increased Risk of
                    Abuse.

      170.   Defendants have structured their system for addressing allegations of

staff sexual misconduct so that there is virtually no assessment of whether any of

Defendants’ policies or procedures may have allowed the misconduct to take place.

For example, investigative staff do not consider it part of their function to

determine whether policies or procedures have enabled the sexual misconduct to

take place or have allowed it to continue—for example—failing to regulate one male

staff person being alone in enclosed areas with a female prisoner, allowing staff to

pick certain prisoners for programs or work crews under their supervision, or

allowing staff to ignore warning signs like prolonged conversations with a prisoner

or obvious misconduct on the part of other officers.




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                             FIRST CAUSE OF ACTION

                    CRUEL AND UNUSUAL PUNISHMENT
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                                (CO GREEN)

      171.    Paragraphs 1-171 are hereby incorporated and realleged.

      172.    In kissing, biting, and licking Plaintiffs’ breasts, neck, and nipples and

by fondling Plaintiff’s genitalia and groin, CO GREEN acted willfully and wantonly

for his own sexual gratification.

      173.    There was no penological justification for CO GREEN’s conduct.

      174.    CO GREEN’s conduct was unreasonable and in violation of Plaintiffs’

clearly established constitutional right to be free from cruel and unusual

punishment.

      175.    CO GREEN’s conduct constituted cruel and unusual punishment

under the Eighth Amendment of the U.S. Constitution.


                            SECOND CAUSE OF ACTION

                     DELIBERATE INDIFFERENCE
           VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
         (COMMISSIONER ANNUCCI, PREA COORDINATOR EFFMAN,
                     SUPERINTENDENT KAPLAN)

      176.    Paragraphs 1 – 171 are hereby incorporated and re-alleged.

      177.    Acting Commissioner ANNUCCI, PREA Coordinator EFFMAN, and

Superintendent KAPLAN, were aware that male correctional officers at BHCF were

repeatedly accused of sexually abusing female inmates.




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      178.   Upon information and belief, Acting Commission ANNUCCI, PREA

Coordinator EFFMAN, and Superintendent KAPLAN, failed to implement policies

sufficient to protect inmates from sexual abuse by correctional officers.

      179.   Acting Commissioner ANNUCCI, PREA Coordinator EFFMAN, and

Superintendent KAPLAN, were deliberately indifferent to a serious risk to the

safety of all female inmates at the hands of male correctional officers at BHCF.


                            THIRD CAUSE OF ACTION

                        DELIBERATE INDIFFERENCE
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                    (CO FNU HURT AND CO JOHN DOE #1)

      180.   Paragraphs 1 – 171 are hereby incorporated and re-alleged.

      181.   At all relevant times, CO FNU HURT and JOHN DOE #1 were

employed as correctional officers at BHCF.

      182.   CO FNU HURT acted against protocol by leaving CO GREEN alone in

Unit 112, an all-female unit.

      183.   CO JOHN DOE #1 failed to report CO GREEN’s absence from the

Bubble, a station CO GREEN was not supposed to leave without another officer

present.

      184.   CO FNU HURT and CO JOHN DOE #1 failed to act on, and were

deliberately indifferent to, information indicating unconstitutional acts might be

occurring.




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                            FOURTH CAUSE OF ACTION

                       NEW YORK COMMON LAW ASSAULT
                                (CO GREEN)

        185.   Paragraphs 1-171 are hereby incorporated and realleged.

        186.   On March 10, 2016, without justification or provocation, CO GREEN

licked, kissed, and bit the neck and nipples of Plaintiff and fondled her genitalia at

BHCF.

        187.   The acts and conduct of CO GREEN were the direct and proximate

cause of injuries and damages to Plaintiff and violated Plaintiff’s statutory and

common law rights as guaranteed by the laws and Constitution of the State of New

York.

        188.   CO GREEN’s sexual assault on Plaintiff constituted an assault upon

Plaintiff in that CO GREEN attempted to injure Plaintiff or commit battery upon

her, and further that CO GREEN’s acts represented a grievous affront to Plaintiff.

        189.   CO GREEN’s actions were intentional, reckless, and unwarranted, and

without any just cause or provocation, and Defendant knew, or should have known,

that his actions were without the consent of Plaintiff.

        190.   Such touching caused ongoing humiliation and emotional pain.




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                                  FIFTH CAUSE OF ACTION

                           NEW YORK COMMON LAW BATTERY
                                    (CO GREEN)

          191.   Paragraphs 1-171 are hereby incorporated and realleged.

          192.   The March 10, 2016 sexual assault by CO GREEN of Plaintiff

constituted a battery upon Plaintiff in that the above-described bodily contact was

intentional, unauthorized, and grossly offensive in nature.

          193.   Such contacts caused serious physical, psychological, and emotional

pain and suffering, and otherwise caused damage to Plaintiff for which Defendant is

liable.


                                FIFTH CAUSE OF ACTION

                        VIOLATION OF N.Y. PENAL LAW § 130.52
                               FORCIBLE TOUCHING
                                   (CO GREEN)

          194.   Paragraphs 1-171 are hereby incorporated and realleged.

          195.   On March 10, CO GREEN forcibly licked and bit the breasts of and

fondled the genitalia of Plaintiff for the purpose of gratifying CO GREEN’s sexual

desire.

          196.   Plaintiff did not consent to such touching.

          197.   Such touching was unlawful.

          198.   Such touching violated N. Y. Penal Law § 130.52.

          199.   Plaintiff suffered physical and emotional pain and other damages as a

result of such touching.

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                             SIXTH CAUSE OF ACTION

                    VIOLATION OF N.Y. PENAL LAW § 130.55,
                    SEXUAL ABUSE IN THE FIRST DEGREE
                                (CO GREEN)

      200.   Paragraphs 1 – 171 are hereby incorporated and realleged.

      201.   On March 10, 2016, CO GREEN subjected Plaintiff to sexual assault

by entering her cell, pushing her against the wall, and forcibly licking and biting

her breasts and fondling her genitals.

      202.   CO GREEN licked Plaintiff’s breasts and fondled Plaintiff’s genitals for

the purpose of gratifying his own sexual desire.

      203.   CO GREEN touched Plaintiff’s breasts and genitals through the use of

physical force.

      204.   CO GREEN pushed Plaintiff against a wall and trapped her there by

pressing his body against hers while he ran tongue and hands over her breasts and

genitals, and bit her neck and breasts with his teeth, thus placing Plaintiff in fear of

immediate injury or death.

      205.   Such touching violated N.Y. Penal Law § 130.55.

      206.   Plaintiff suffered physical and emotional pain and other damages as a

result of the violation of the N.Y. Penal Law.




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                             SEVENTH CAUSE OF ACTION

                               RETALIATION
               VIOLATION OF U.S. CONSTITUTION AMENDMENT I
              (CO FNU HENRY, CO FNU. JACKSON, CO FNU PAIGE, and
                             CO FNU. GARCIA)

       207.   Paragraphs 1-171 are hereby incorporated and reallaged.

       208.   CO FNU HENRY, CO FNU JACKSON, CO FNU PAIGE and CO FNU

GARCIA retaliated against Plaintiff for reporting CO GREEN’s sexual assault of

Plaintiff.

       209.   CO FNU HENRY retaliated against Plaintiff by saying to Plaintiff,

“There goes the girl getting a million dollars for getting her tits licked.”

       210.   CO FNU JACKSON retaliated against Plaintiff on October 18, 2016

when he ignored protocol by pushing aside Plaintiff’s privacy curtain, entering

Plaintiff’s cell while she was naked, stepping into Plaintiff’s cell and stating, “Come

get it.”

       211.   CO FNU PAIGE retaliated against Plaintiff by calling her a “liar” and

a “faker,” regarding both CO GREEN’s sexual assault of Plaintiff and Plaintiff’s

reported illness.

       212.   CO FNU GARCIA retaliated against Plaintiff by excessively searching

Plaintiff’s cell and person and informing Plaintiff that the searches were mandated

by “higher-ups” who were afraid Plaintiff was writing an instruction book on

exploiting correctional officers.




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       213.   As a result of the retaliation, Plaintiff suffered severe physical,

psychological and emotional distress.

       214.   Plaintiff is being treated by the OMH and has recently been prescribed

psychiatric medications.

       215.   By virtue of their retaliation against Plaintiff for her report of CO

GREEN’s sexual abuse, CO FNU HENRY, CO FNU JACKSON, CO FNU PAIGE,

and CO FNU GARCIA deprived Plaintiff of her right to freedom of speech in

violation of her rights under the First Amendment of the United States

Constitution.


                                EIGHTH CAUSE OF ACTION

                       VIOLATION OF N.Y. Penal Law § 195.00,
                              OFFICIAL MISCONDUCT
                (CO FNU WILLIAMS, CO FNU MURPHY, CO FNU EDDY,
                  Sergeant FNU SPIEGHTS, and CO JOHN DOEs #2-3)

       216.   Paragraphs 1-171 are hereby incorporated and reallaged.

       217.   At all relevant times, CO GREEN, CO FNU WILLIAMS, CO FNU

MURPHY, CO FNU EDDY, Sergeant FNU SPIEGHTS, and JOHN DOEs #8-9 were

correctional officers employed at BHCF.

       218.   CO GREEN used his position as a public servant to sexually assault

Plaintiff.

       219.   CO FNU WILLIAMS prevented Plaintiff from reporting CO GREEN’s

sexual assault of Plaintiff to PREA CM VELEZ.




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       220.    Sergeant FNU SPIEGHTS told Plaintiff that Plaintiff must report the

incident to her before Plaintiff could report CO GREEN’s assault to the PREA

hotline or to PREA CM VELEZ.

       221.    CO FNU MURPHY asked Plaintiff why CO GREEN had the

impression that Plaintiff was willing to have sexual relations with CO GREEN.

       222.    CO FNU EDDY prevented Plaintiff from reporting CO FNU

JACKSON’s violation of DOJ Regulation 28 C.F.R. § 115.15 and DOCCS Directive

#4028A/B, “Sexual Abuse Prevention and Staff Intervention – Staff-on-Inmate,”

when CO FNU JACKSON entered Plaintiff’s cell, while Plaintiff was naked, and

told her to, “get it.”

       223.    CO JOHN DOE #2 failed to alert authorities when Plaintiff told CO

JOHN DOE #2 about CO FNU JACKSON’s actions.

       224.    CO JOHN DOE #3 failed to report Plaintiff’s complaint against CO

FNU JACKSON and ignored her allegations.

       225.    CO FNU PAIGE called Plaintiff “a liar” and “a faker.”

       226.    All correctional officers at BHCF are required by PREA § 115.64 and

DOCCS Directive #4028A to report any inmate claims of sexual abuse.

       227.    Defendants CO FNU WILLIAMS, CO FNU MURPHY, CO FNU

EDDY, Sergeant FNU SPIEGHTS, and JOHN DOEs #8-9 knowingly refrained from

facilitating Plaintiff’s sexual assault report, or actively prevented it, violating the

duty imposed upon them by PREA § 115.64 and DOCCS Directive #4028A and

inherent in the nature of their office.


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                              NINTH CAUSE OF ACTION

                 VIOLATION OF N.Y. Penal Law § 195.05,
     OBSTRUCTING GOVERNMENTAL ADMINISTRATION IN THE SECOND
                               DEGREE
          (CO FNU WILLIAMS, CO FNU MURPHY, CO FNU EDDY,
            Sergeant FNU SPIEGHTS, and CO JOHN DOEs #2-3)

       228.   Paragraphs 1-171 and 217-228 are hereby incorporated and reallaged.

       229.   Defendants prevented Plaintiff from reporting CO GREEN’s sexual

assault by denying her access to PREA representatives, discouraging her from

reporting, telling her to “let it go,” and calling her a “liar” and a “faker.”

       230.   Defendants intentionally obstructed, impaired, or perverted the

administration of law by preventing or attempting to prevent Plaintiff from

reporting CO GREEN’s sexual assault of Plaintiff or correctional staff’s retaliatory

acts against Plaintiff and by failing to keep Plaintiff’s reporting confidential.


                                     Prayer for Relief

       WHEREFORE, Plaintiff prays for relief and demands judgment in her favor

on each of her claims against defendants as follows:

       a.     That a jury find and the Court adjudge and decree that Plaintiff shall

recover compensatory damages in the sum of $10,000,000, plus punitive damages in

the sum of $10,000,000, against the defendants in punitive damages, plus $1

against the defendants in nominal damages, jointly and severally, together with

interest.




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      b.    That Plaintiff recover the costs of the suit herein, including reasonable

attorneys fees pursuant to 42 U.S.C. § 1988.

      c.    That Plaintiff be awarded such other and further relief as the Court

shall deem just and proper.

                                   Jury Demand

      Plaintiff hereby demands a trial by jury on all issues and counts in the

Complaint herein.

Dated:      New York, New York
            March 9, 2017

                                Respectfully submitted,


                                By:_____________________________
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                                      Daniel A. McGuinness
                                      Victoria N. Medley

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                                               - and –

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                                Email: zach@zmolaw.com
                                Attorneys for Plaintiff JANE DOE


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                                                       TITLE                                 NO.
                                                                                             2230
                                                       Guidelines for Assignment             DATE

                                                       of Male and Female                    03/13/2015
                                                       Correction Officers
                            DIRECTIVE
 SUPERSEDES                                            DISTRIBUTION          PAGES           DATE LAST REVISED
             DIR# 2230 Dtd. 01/05/2015                  A                    PAGE 1 OF   2
 REFERENCES (Include but are not limited to)           APPROVING AUTHORITY




I.     INTRODUCTION. 5>; EJGEDH; D< I>?H 9?G;8I?K; ?H ID ;CHJG; I>6I I>; 0;E6GIB;CIQH EDA?8?;H
       regarding the employment of Correction Officers are in full compliance with the Constitution
       and Statutes of the United States and the State of New York.*
       In complying with the law, the Department is mindful of its duty to balance its various
       obligations under the law including:
       A. 5>; 0;E6GIB;CIQH D7A?=6I?DC ID B6?CI6?C I>; H;8JG?IN 6C9 H6<;IN D< ?IH <6cilities and to
            provide a safe and secure place for its employees, inmates, and visitors to the
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       B. 5>; 0;E6GIB;CIQH D7A?=6I?DC ID ;CHJG; ID ?IH ;BEADN;;H ;FJ6A G?=>IH ID ;BEADNB;CI ?C
            any position in its facilities, regardless of gender
                                                              er, consistent with the provisions of this
            directive.
       C. 5>; 0;E6GIB;CIQH D7A?=6I?DC ID ?IH ?CB6I;H 8DCH?HI;CI L?I> I>; EGDK?H?DCH D< I>?H
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            do so. For instance, if the inmate wishes to take a shower in the yard, he or she must
            be prepared to be viewed by any employee who may be in or near the yard.)
       *NOTE: The decision of the United States Circuit Court of Appeals in Forts v. Ward covers
       Bedford Hills; therefore, this directive is not applicable to Bedford Hills Correctional Facility.
II.    POLICY
       A. All Correction Officers will perform the duties that are assigned to them, regardless of
          gender, provided however that the following assignments will not be made to Correction
          Officers who are not of the same gender as the inmates:
          Of
          1. Strip frisks or strip searches;
          2. Obtaining a urine specimen;
          3. Congregate shower facilities;
          4. Video taping of strip frisks or strip searches using hand-held video cameras;
          5. Special Watch (e.g., drug watch); or
          6. Suicide Watch.
          NOTE: Cross-gender coverage of an inmate on a Suicide Watch is permissible if
          exigent circumstances exist.
       B. Where inmates are transported outside of the facility, at least one transporting
          Correction Officer shall be of the same gender as the inmate(s) being transported.
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                                          NO.   2230, Guidelines for Assignment of Male and Female Correction Officers
                                         DATE 03/13/2015                                                  PAGE 2 of 2



    C.   Whenever two or more Correction Officers are assigned to an outside security detail, at
         least one must be of the same gender as the inmate. If only one Correction Officer is
         assigned to an outside security detail, that Correction Officer shall be of the same
         =;C9;G 6H I>; ?CB6I;( 1<' >DL;K;G' 6 OGDK?C= /DGG;8I?DC 3<<?8;GP ?H 6HH?=C;9 ID I>;
         hospital and is the same gender as the inmate, the gender of the Correction Officer
         assigned individual coverage is immaterial. The gender concern for staff does not apply
         for outside crew assignments (i.e., community crews).
    D.   Cross-gender pat frisks will only be performed in accordance with the procedures set
         <DGI> ?C 0?G;8I?K; $,-*)' O/DCIGDA D< % 4;6G8> <DG /DCIG676C9(P
    E.   Staff of the opposite gender shall verbally announce their arrival on a housing unit to
         avoid unnecessarily invading the privacy of inmates of the opposite gender, unless
         emergency conditions dictate otherwise. An announcement is required when the
         gender-supervision on a housing unit changes from exclusively same gender, to mixed
         or cross-gender supervision. The announcement(s) by staff must be accomplished in a
         manner that is easily heard and/or understood by all inmates on the unit.
    F.   Except for in-cell shower staAAH 6I O4P 7AD8@H' 6C9 L?I>?C I>; 6G;6H 9;H?=C6I;9 6H HE;8?6A
         housing units in Upstate and Five Points Correctional Facilities, individual shower stalls
         will utilize the Corcraft manufactured PVC shower curtain that is designed as breakaway
         with Velcro straps for attaching, and is available in translucent for use with male inmates
         6C9 =G;;C <DG JH; L?I> <;B6A; ?CB6I;H( 5>; 7DIIDB *+P D< I>; H>DL;G 8JGI6?CH 6G;
         constructed of clear PVC for viewing the lower legs and feet of the inmate occupying the
         shower. The shower curtain must be of sufficient length to cover the bodies of inmates
         and extend to the floor.
III. EMERGENCIES: During emergencies, Correction Officers, regardless of gender, may
     perform any necessary duties including those otherwise prohibited by reason of gender.
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             Y^dB NJJK Y~nH JNIJQILJKN                V                    cV\Z K b[   O
 dZ[ZdZaXZe C^xmvno l~ k|o xy~ vsws~on ~yD         Vccdbh^a\ Vgf]bd^fj
              Ys|om~s o} BLLKNF BNJJNF BNSMM
              Xy||om~syx _k




QF   LMVKUQTWQSRT frs} ns|om~s o s} no}sqxon ~y z|y sno ~ro qsnovsxo} py| o}~klvs}rsxq
     kno{k~o knwsxs}~|k~s o ns|om~syx s~rsx okmr pkmsvs~ n|sxq ~ro kl}oxmo yp ~ro
     ezo|sx~oxnox~H ^~ kv}y z|y sno} ns|om~syx ~y ox}|o ~rk~ {kvs~ nksv kxn oouv |yxn} k|o
     swzvowox~on py| xsqr~ }rsp~}F k} ovv k} nk }rsp~}F yp kvv k}}sqxon sxwk~o ry}sxq k|ok} kxn
     km~s s~ k|ok} l Z om~s o fokw wowlo|}F }om|s~ }zo| s}y|}F kxn no}sqxk~on Ys s}syx
     ]okn}H
QQF LMNQRQWQSRV
     VH ezo|sx~oxnox~T fro mrsop knwsxs}~|k~y| yp k my||om~syxkv pkmsvs~ k} kzzysx~on l ~ro
           Xywws}}syxo| sx kmmy|nkxmo s~r Xy||om~syx _kF V|~smvo LF eom~syx KRH
     WH Vm~sxq ezo|sx~oxnox~T fro owzvy oo no}sqxk~on ~y k}}wo ~ro |o}zyx}slsvs~so} yp ~ro
           ezo|sx~oxnox~ roxo o| ~ro ezo|sx~oxnox~ s} kl}ox~ no ~y svvxo}}F  kmk~syxF ~|k ov
           yx e~k~o l}sxo}}F o~mHF kxn s} xy~ k ksvklvo ~y ~kuo mywwkxn yp ~ro pkmsvs~ H
     XH bppsmo| yp ~ro Yk CbYDT fro owzvy oo no}sqxk~on ~y z|y sno knwsxs}~|k~s o ns|om~syx
           yx oouoxn} kxn ryvsnk } kxn n|sxq ~ro o oxsxq ry|} kxn xsqr~ ry|} }o ox nk } k
           oouH
     YH Z om~s o fokw `owlo|}T fro ezo|sx~oxnox~F [s|}~ Yoz~ ezo|sx~oxnox~ Csp
           kzzvsmklvoDF kxn Yoz~ ezo|sx~oxnox~}H b~ro| }~kpp wk lo no}sqxk~on l ~ro
           ezo|sx~oxnox~ ~y }o| o k} kx Z om~s o fokw wowlo| sx ~ro kl}oxmo yp k Yoz~
           2IE;F?CH;C9;CH DF K>;C 6 ,;EIHM 2IE;F?CH;C9;CHPG J686C8M ;L?GHG#
     ZH eom|s~ ezo| s}y|}T eom|s~ zo|}yxxov no}sqxk~on s~r ~ro |kxu yp eo|qokx~ y|
           kly oH
     [H Ys s}syx ]okn}T ezo| s}y| zo|}yxxov ~rk~ k|o sx mrk|qo yp k ns s}syx y| }zomspsm k|ok
           yp ~ro pkmsvs~ H fro ezo|sx~oxnox~ wk no}sqxk~o }zomspsm Ys s}syx ]okn} CoH oHqHF
           V}}s}~kx~ Yoz~ ezo|sx~oxnox~F Xkz~ksxF e~ok|nF ^xn}~| ezo|sx~oxnox~F cvkx~
           ezo|sx~oxnox~F [yyn eo| smo Vnwsxs}~|k~y|F o~mHD ~y zk|~smszk~o sx oouv |yxn} kxn ~y
           lo z|o}ox~ k} |o{s|on n|sxq Z om~s o fokw kxnIy| Ys s}syx ]okn woo~sxq}H
QQQF TXUTSVM
     VH fy ox}|o ~rk~ ~ro pkmsvs~ Z om~s o fokwF k} ovv k} no}sqxk~on Ys s}syx ]okn}F k|o
           k ksvklvo ~y oxqkqo sx sxpy|wkv myx~km~ s~r }~kpp kxn sxwk~o}F k} ovv k} sxpy|wkvv
           yl}o| o vs sxq kxn y|usxq myxns~syx}H
     WH fy ox}|o ~rk~ {kvs~ |yxn} k|o mywzvo~on l }om|s~ }zo| s}y|} kxn ~rk~ nksv
           |s~~ox }wwk| |ozy|~} yp ~ro |yxn} k|o py|k|non ~r|yqr ~ro mrksx yp mywwkxn ~y
           ~ro Yoz~ ezo|sx~oxnox~ py| eom|s~ py| kzz|yz|sk~o |o so kxn km~syx sp xomo}}k| H
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                                                   abH   IGGHE N[\`a`hk J]b`c`ghf[h`j^ Kdj^f[_^ B Vie^fj`gdfk Udic]g
                                         YVfZ JRILPILJKO                                                cV\Z L yp O



QYF JKWQRO VXTMUQRWMRLMRW
    VH emronvo
       KH fro [s|}~ Yoz~ ezo|sx~oxnox~ }rkvv lo |oqvk|v no}sqxk~on k} Vm~sxq
           ezo|sx~oxnox~H
       LH ^x ~ry}o pkmsvs~so} ~rk~ ny xy~ rk o ~rs} zy}s~syxF ~ro Vm~sxq ezo|sx~oxnox~ }rkvv lo
           mry}ox p|yw ~ro pyvvysxqT
           kH Yoz~ ezo|sx~oxnox~ py| eom|s~ eo| smo}E
           lH Yoz~ ezo|sx~oxnox~ py| Vnwsxs}~|k~s o eo| smo}E
           mH Yoz~ ezo|sx~oxnox~ py| c|yq|kw eo| smo}E
           nH Yoz~ ezo|sx~oxnox~ py| ]okv~r eo| smo} Csp kzzvsmklvoD
           oH Yoz~ ezo|sx~oxnox~ py| Xy||om~syxkv `ox~kv ]okv~r c|yq|kw Csp kzzvsmklvoD
           EabfZT ^x pkmsvs~so} rsmr ny xy~ rk o ~rs} zy}s~syxF ~ro ~s~vo }rkvv wokx ~ro rsqro}~
           |kxusxq owzvy oo s~r o{s kvox~ |o}zyx}slsvs~so}H ^x wsxsww pkmsvs~so}F ~ro Vm~sxq
           ezo|sx~oxnox~ }rkvv lo no}sqxk~on l ~ro ezo|sx~oxnox~ k} myxns~syx} k||kx~H
       MH fro xkwo yp ~ro Vm~sxq ezo|sx~oxnox~ }rkvv lo py|k|non l oGwksv ~y ~ro
           ezo| s}sxq ezo|sx~oxnox~ l ~ro pkmsvs~ ezo|sx~oxnox~H fro ezo| s}sxq
           ezo|sx~oxnox~ svv ~rox py|k|n ~ro xkwo ~y ~ro bppsmo yp ~ro Yoz~
           +DBB?GG?DC;F <DF +DFF;8H?DC6A -68?A?H?;G K?H> 6 8DEM HD H>; <68?A?HMPG *GG?GH6CH
           Xywws}}syxo| py| Xy||om~syxkv [kmsvs~so} kxn ~ro Xywwxsmk~syx} Xyx~|yv Xox~o|
           z|sy| ~y ~ro oppom~s o nk~oH
    WH do}zyx}slsvs~so}
       KH ezo|sx~oxnox~}F kv~ryqr xy~ }zomspsmkvv k}}sqxon ~y oouoxn y| ryvsnk n~ F
           k|o o zom~on ~y wkuo sx}zom~syx} yp ~ro pkmsvs~so} k~ ~swo} y~ro| ~rkx |oqvk| nk
           n~ ry|}H
       LH fro ezo|sx~oxnox~ }rkvv uooz ~ro Vm~sxq ezo|sx~oxnox~ sxpy|won k} ~y rs} y| ro|
           ro|okly~}H
       MH fro Vm~sxq ezo|sx~oxnox~ }rkvv uooz ~ro zo|}yx sx mrk|qo yp ~ro pkmsvs~ sxpy|won
           k} ~y rs} y| ro| ro|okly~}F sp ro y| }ro w}~ lo ~owzy|k|sv kl}ox~H
YF SNNQKMU SN WPM LJZ CSLD
    VH emronvo
       KH fro bY }rkvv lo mry}ox yx k |y~k~sxq lk}s} kxn svv lo mry}ox p|yw ~ro pyvvysxqT
           kH [s|}~ Yoz~ ezo|sx~oxnox~ Csp kzzvsmklvoD
           lH Yoz~ ezo|sx~oxnox~ py| eom|s~ eo| smo}E
           mH Yoz~ ezo|sx~oxnox~ py| Vnwsxs}~|k~s o eo| smo}E
           nH Yoz~ ezo|sx~oxnox~ py| c|yq|kw eo| smo}E
           EabfZT ^x pkmsvs~so} rsmr ny xy~ rk o ~rs} zy}s~syxF ~ro ~s~vo }rkvv wokx ~ro rsqro}~
           |kxusxq owzvy oo s~r o{s kvox~ |o}zyx}slsvs~so}H
           oH Yoz~ ezo|sx~oxnox~ py| ]okv~r eo| smo} Csp kzzvsmklvoD
           pH   Yoz~ ezo|sx~oxnox~ py| Xy||om~syxkv `ox~kv ]okv~r c|yq|kw Csp kzzvsmklvoD
           qH Xkz~ksx}
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                                           abH   IGGHE N[\`a`hk J]b`c`ghf[h`j^ Kdj^f[_^ B Vie^fj`gdfk Udic]g
                                 YVfZ JRILPILJKO                                                cV\Z M yp O



     rH   e~ok|n} kxn V}}s}~kx~ Yoz~ ezo|sx~oxnox~}T irox ~ro}o sxns snkv} k|o
          k}}sqxon bY n~ F k Yoz~ ezo|sx~oxnox~ y| ~ro ezo|sx~oxnox~ w}~ lo
          |oknsv k ksvklvo ~y ~row kxn s~rsx |ok}yxklvo ns}~kxmo p|yw ~ro pkmsvs~ H
          e~ok|n} k|o xy~ zokmo yppsmo|} kxn wk xy~ k~ry|s o ~ro }o yp mrowsmkv
          kqox~}F ~ro zvkxxon }o yp zr }smkv py|mo CsHoHF movv o ~|km~syx}F py|mslvo }~|sz
          p|s}uDF y| ~ro nozvy wox~ yp ps|ok|w} y| mrowsmkv kqox~} y~}sno yp o}~klvs}ron
          zy}~H ^x pkmsvs~so} ro|o ~ro e~ok|n y| c|yq|kw Vnwsxs}~|k~y| s} ~ro rsqro}~
          zy}s~syx sx Vnwsxs}~|k~s o y| c|yq|kw eo| smo}F ~rs} }om~syx }rkvv xy~ kzzv F
          o moz~ ~rk~ ~ro ezo|sx~oxnox~ }rkvv lo myx~km~on py| k~ry|s k~syx sx ~ro
          o ox~ yp k zvkxxon }o yp zr }smkv py|moH
     sH   ^x wsxsww pkmsvs~so}F bY wk lo |y~k~on kwyxq ~ro ezo|sx~oxnox~F Yoz~
          ezo|sx~oxnox~ py| eom|s~ kxnIy| Xkz~ksx ro|o kzzvsmklvoF c|yq|kw
          Vnwsxs}~|k~y|F kxn e~ok|nH
     tH   b~ro| ~s~vo} wk yxv lo knnon ~y ~ro bY }mronvo sp ~ro k|o kzz|y on l ~ro
          Yoz~ Xywws}}syxo| py| Xy||om~syxkv [kmsvs~so}H frs} kzz|y kv svv yxv lo
           kvsn k} vyxq k} ~ro sxmwlox~ ry k} sx ~ro zy}s~syx rox ~ro |o{o}~ k}
          wkno |owksx} sx ~ro ~s~voH V xo |o{o}~ w}~ lo }lws~~on sp ~ro ~s~vo s} psvvon
          l }ywoyxo ov}oH
LH   fro }mronvo py| okmr pkmsvs~ bY svv lo p|yw N zHwH [|snk ~y N zHwH ~ro pyvvysxq
     [|snk H
MH   [kmsvs~ ezo|sx~oxnox~} svv mryy}o yxo yp ~ro pyvvysxq yz~syx} py| z|y snsxq
     my o|kqoT
     kH 0, K?AA 7; EF;G;CH ?C H>; <68?A?HM 9IF?C= ;68> 7IG?C;GG 96M 6C9 7; NDC 86AAO
          n|sxq kvv xyxGl}sxo}} ry|} kxn nk }F sxmvnsxq ek~|nk }F exnk }F kxn
          ryvsnk }H
     lH bY svv lo z|o}ox~ sx ~ro pkmsvs~ yxv yx ~ry}o ek~|nk }F exnk }F kxn
          ryvsnk } py| rsmr ~ro ezo|sx~oxnox~ ns|om~} yxG}s~o z|o}oxmoU rox ~ro bY
          s} ~r} }mronvon ~y lo yx }s~o yx k ek~|nk F exnk F y| ryvsnk F
          mywzox}k~y| ~swo ypp yx k |oqvk| l}sxo}} nk wk lo q|kx~on k} y~vsxon
          ?C ,?F;8H?J; !&&%(" N+DBE;CG6HDFM 3?B;" 0J;FH?B; 6C9 1;86AA#O
NH   Vn kxmo oGwksv xy~spsmk~syx yp ~ro xkwo yp ~ro owzvy oo no}sqxk~on k} pkmsvs~ bY
     }rkvv lo py|k|non ~y ~ro bppsmo yp ~ro Yoz~ Xywws}}syxo| py| Xy||om~syxkv
     -68?A?H?;G K?H> 6 8DEM HD H>; <68?A?HMPG *GG?GH6CH +DBB?GG?DC;F <DF +DFF;8H?DC6A
     [kmsvs~so} kxn ~ro ezo| s}sxq ezo|sx~oxnox~H fro bppsmo yp ~ro Yoz~
     Xywws}}syxo| }rkvv z|y sno ~rs} sxpy|wk~syx ~y ~ro Xywwxsmk~syx} Xyx~|yv
     Xox~o|H
     irox ~ro no}sqxk~on bY s} y~ro| ~rkx k Yoz~ ezo|sx~oxnox~ y| Xkz~ksxF ~ro oG
     wksv xy~spsmk~syx svv sxmvno ~ro Yoz~ ezo|sx~oxnox~ ry s} k ksvklvo kxn klvo ~y
     |o}zyxn ~y ~ro pkmsvs~ H
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                                                   abH   IGGHE N[\`a`hk J]b`c`ghf[h`j^ Kdj^f[_^ B Vie^fj`gdfk Udic]g
                                         YVfZ JRILPILJKO                                                cV\Z N yp O



         OH  V} mrkxqo} k|o xomo}}s~k~onF ~ro bppsmo yp ~ro Yoz~ Xywws}}syxo| py|
             Xy||om~syxkv [kmsvs~so} }rkvv lo xy~spson ~y kvvy py| znk~sxqH Vx oGwksv xy~spsmk~syx
             yp ~ro xkwo yp ~ro owzvy oo no}sqxk~on k} ~ro pkmsvs~ bY }rkvv lo py|k|non ~y
             ~ro bppsmo yp ~ro Yoz~ Xywws}}syxo| py| Xy||om~syxkv [kmsvs~so} s~r k myz ~y ~ro
             <68?A?HMPG *GG?GH6CH +DBB?GG?DC;F <DF +DFF;8H?DC6A -68?A?H?;G 6C9 H>; 2IE;FJ?G?C=
             ezo|sx~oxnox~H fro bppsmo yp ~ro Yoz~ Xywws}}syxo| }rkvv z|y sno ~rs}
             sxpy|wk~syx ~y ~ro Xywwxsmk~syx} Xyx~|yv Xox~o|H
       PH fswo }zox~ yx k}}sqxwox~ k} bY }rkvv xy~ lo myx}sno|on k} y o|~swoF l~ |k~ro|
             k} k ns}~sxm~s o zk|~ yp ~ros| y o|kvv |o}zyx}slsvs~ k} kx knwsxs}~|k~y|H
       QH ^x ~ro o ox~ yp kx xo zom~on kl}oxmo yx ~ro zk|~ yp ~ro ezo|sx~oxnox~ y| ~ro
             k}}sqxon pkmsvs~ bYF kxy~ro| zo|}yx }ovom~on p|yw ~ro kzz|y on vs}~ yp pkmsvs~ bY
             ovsqslvo} }rkvv lo k}}sqxonH Vx oGwksv xy~spsmk~syx yp ~ro xkwo yp ~ro owzvy oo
             no}sqxk~on k} ~ro pkmsvs~ bY }rkvv lo py|k|non ~y ~ro bppsmo yp ~ro Yoz~
             Xywws}}syxo| py| Xy||om~syxkv [kmsvs~so} kxn ~ro ezo| s}sxq ezo|sx~oxnox~H fro
             Xywwxsmk~syx Xyx~|yv Xox~o| }rkvv lo }y sxpy|won l oGwksvH
    WH do}zyx}slsvs~so}
       KH fro bY }rkvv uooz ~ro ik~mr Xywwkxno| sxpy|won k} ~y ~ros| ro|okly~}H
       LH 3>; 0, G>6AA 7; NDC 86AAO HD F;8;?J; 8DBBIC?86H?DCG <FDB H>; 56H8> +DBB6C9;F
             yx wk~~o|} rsmr wk |o{s|o rs} y| ro| tnqwox~ y| |o~|x ~y ~ro pkmsvs~ H
       MH ^x ~ro o ox~ kx x}kv sxmsnox~ ymm|}F ~ro ik~mr Xywwkxno| }rkvv xy~sp ~ro
             pkmsvs~ bY k} }yyx k} zy}}slvoH
       NH Yozoxnsxq zyx ~ro }o|sy}xo}} yp ~ro sxmsnox~F ~ro pkmsvs~ bY }rkvvT
             kH ^x o}~sqk~o ~ro sxmsnox~ kxn qk~ro| ~ro pkm~}U
             lH ay~sp ~ro ezo|sx~oxnox~U
             mH ^x}~|m~ ~ro ik~mr Xywwkxno| ~y ~ovozryxo k |ozy|~ yp ~ro sxmsnox~ ~y ~ro
                   Xywwxsmk~syx Xyx~|yv Xox~o|U kxn
             nH Zx}|o ~rk~ kx gx}kv ^xmsnox~ dozy|~ s} z|ozk|on sx kmmy|nkxmo s~r ~ro
                   EFDJ?G?DCG D< ,?F;8H?J; !($$(" N4CIGI6A /C8?9;CH 1;EDFH#O
       OH 3>; <68?A?HM 0, G>6AA 7; EFDJ?9;9 K?H> 6 N8DBBIC?86HDFO HD ox}|o myx~km~ l
             pkmsvs~ H
       PH fro pkmsvs~ bY s} o zom~on ~y ~y| qoxo|kv k|ok} yp ~ro pkmsvs~ kxn }sqx ~ro
             |o}zom~s o vyqlyyu} sx |on sxuH Vv}yF ~ro bY }ryvn ~y| k|ok} n|sxq ~ro yppG}rsp~
             Cwsnxsqr~}F o oxsxq}DH
YQF USXRLV
    VH fro ezo|sx~oxnox~ y| Vm~sxq ezo|sx~oxnox~ }rkvv o}~klvs}r k }mronvo ro|ol ~ro
       ezo|sx~oxnox~ y| no}sqxooF Z om~s o fokw wowlo|}F kxn no}sqxk~on Ys s}syx ]okn}
       K?AA" K>;C EF68H?86A" B6@; FDIC9G D< H>; <68?A?HMPG A?J?C= 6C9 68H?J?HM 6F;6G 6H A;6GH K;;@AM
       ~y oxmy|kqo sxpy|wkv myx~km~ s~r }~kpp kxn sxwk~o}F k} ovv k} yl}o| o vs sxq kxn
       y|usxq myxns~syx}H Zkmr |o}zom~s o vyqlyyu svv lo }sqxon sx |on sxu kxn }rkvv sxnsmk~o
       ~rk~ ~ros| |yxn yp ~ro k|ok k} xkxxyxmon y| kxxyxmon kp~o| |o sosxq kxn }sqxsxq
       ~ro vyqlyyuH _yqlyyu ox~|so} }ryvn lo }zomspsm kxn sxmvno no~ksv} nopsxs~s o ~y ~ro
       |o}zom~s o k|ok CoHqHF k|ok} ~y|onF |ok}yx}F yl}o| k~syx}F o~mHDH e]g |yxn} }rkvv lo
       =DJ;FC;9 7M ,?F;8H?J; !()''" N2E;8?6A .DIG?C= 4C?HG#O
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                                                abH   IGGHE N[\`a`hk J]b`c`ghf[h`j^ Kdj^f[_^ B Vie^fj`gdfk Udic]g
                                      YVfZ JRILPILJKO                                                cV\Z O yp O



     abfZT frs} }ryvn xy~ lo sx~o|z|o~on k} wokxsxq ~rk~ o o| sxns snkv s} ~y myxnm~
     |yxn} yp ~ro ox~s|o pkmsvs~ H fro ezo|sx~oxnox~ rk} ~ro ns}m|o~syx ~y o}~klvs}r k
     }mronvo kxn }ovom~ }~kpp p|yw ~ro ~s~vo} wox~syxon sx eom~syx hGV kly oF }y ~rk~ kvv
     k|ok} yp ~ro pkmsvs~ svv lo my o|on yx k oouv lk}s}H
     KH Z om~s o fokw `owlo|} kxn Yo}sqxk~on Ys s}syx ]okn}T erkvv mywzvo~o kxn
          py|k|n [y|w BNJJK V" N5;;@AM *9B?C?GHF6H?J; *8H?J?HM 1;EDFH"O HD H>;
          ezo|sx~oxnox~ zyx mywzvo~syx yp ~ros| k}}sqxon |yxn}H ezo|sx~oxnox~} }ryvn
          ox}|o ~rk~ Z om~s o fokw wowlo|} wkuo |yxn} sx k|ok} xy~ xomo}}k|sv xno|
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                                                          NOQP EFE                                                                     NOQP EFG
 E          k_\ n`ke\jjU pw J                                                E           ` zs II { zs zw t vw   zs w  z {
 F          k_\ ZflikU ft|wu{ I]gc  w    w { J                    F   vw   t s {sw s u~s{W
 G      h EY kzw Z F f}s J ew    w { J                          G       X \suz us w { v{xxww J
 H      h X ~ws  z yz MKKL  zw z{ us w }  ~suw               H           kzwwD   II   s~~  us w y ~{}w zsH  J
 I   zsv  w w  t s {swv s s~~wys{ x s { sw ts wv          I       h j   Dw s { y  {z{ zw [w sw  x Zwu{
 J    ~  zw sww V {  D zs uwuW                            J   `  wu ^w ws~D fxx{uw zwwD    w s vsv zs zs 
 K      X f s  { sw   Dw s~}{ y st   |  du[ s~vW        K   tw w st~{ zwv w w {w   t s {sw s us wV { zs
 L      h p zs w II   s v z yz MKKL    w w                   L   uwuW
 M     t s {swv s s~~wys{ x s  { sw ts wv  |  zs      M       X \ w us w { ~}wv s v{xxww ~ twus w x zw
ED   { swD sww V { zs uwuW                                    ED   s~~wys{ x zw us wH zw  { w w x zw us wH  zs zw
EE      X ` v D II ` v D wwtwJ ` us D s  w  w             EE    { w w s s v zw  w s}w {  zw  w  w s v zw
EF    J                                                                   EF   zw  w  w { zw   w {   {w { s v zw s}w s
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EH   zs    w zw s~~wys{ zs  w wvV { zs uwuW              EH       h Y  zwwD    w u { w  s vsv   vw  z{uz
EI      X Xt ~ w~  J                                                 EI     w s~ sw w w us wH { zs  wW
EJ      h [w zs ws   zs w    w zs zw s~~wys{           EJ           diJ c`ZXkXU p  _ H t|wu{ J
EK   zs  w wvW                                                           EK           k_\ ZflikU eJ ` z{ } II z  uz  x v  
EL      X Xt ~ w~  J                                                 EL    wwv  s}w {  zw  w  w W
EM      h ` { zw sw t vw x  x s s u{{ s~                      EM           k_\ n`ke\jjU ` yw suuv{ y kgf  zs zw
FD   u  {u{ W                                                         FD       w {  s}w s vwu{ {  J
FE      X nzs  w v {  w yst zw xsu x zw us wH    Dw            FE           k_\ ZflikU nzsD zw   w { W _  uz  x
FF   s~~ ywzw s v vw w v{ y  zs zw xsu sw II zwwD tww       FF   vw zw   w {   wwvW
FG   {w  zww zwwD   w {vw uwJ jsww  x { sw  ~ I       FG           k_\ n`ke\jjU ` yw suuv{ y   zs zw  { w w
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                                                          NOQP EFF                                                                     NOQP EFH
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 F   ts wv  zw { w {w x zw sywJ                                 F   w {vw uwH t  z  uz w {vw uw v    wwv  s}w {  zw
 G      h Y    v D wxw w w us w  zw jsw  ~{uwV           G    w  w W
 H   { zs uwuW                                                         H           k_\ n`ke\jjU ^w suuv{ y   zs  w I  w v{ u
 I      X eJ                                                                I   {   us w w {w J kzwwD   s u~ws s  w x zsJ
 J      h nzs { zw t vw x  x zs   II zs w w             J      h X v   z{ s w x{ H   w { w  s vsvW
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 L      X kzwwD w ws~  uwv w x~~ wv  z{uz yw {yz              L      h a  II
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EG      X ` |  s  wwv zsJ                                            EG   wxwwv  zw jsw  ~{uwW
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EI      X ` yw suuv{ y     w { J nw wxw II  w             EI      h Y  zs {    s   wu{x{u s vsv ts { W
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EK   vww{ w  zwzw sxw v{ u { y zw us w  zwzw zwwD          EK   zwwD y{ y  tw II
EL   w  yz xsu zwwH w {vw uw   zsw w  s}w {  zw        EL      h kzs    w {  z{ { zw sw s zw t vw x
EM    w  w w{zw ~st w~s{  zw jsw  ~{uwJ                 EM    x { s u{{ s~ us wH tw  v s ws  st~w v tH { zs
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FE   }  zs   zs w w  yz xsu  ww s t vw x  xW       FE      X `D   s { y zsJ `D s { y {D |  ~{}w  w
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FG      X ` vw w v  zw us wJ                                          FG   y{ y  suuw J jsw  ~{uw { y{ y  suuw  s v  
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